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1    UNITED STATES DISTRICT COURT
     SOUTHERN DISTRICT OF NEW YORK
2    ------------------------------x

3    MEDISIM,

4                     Plaintiff,

5                v.                                10 Civ. 2463 (SAS)

6    BESTMED,

7                     Defendant.

8    ------------------------------x

9

10                                                 January 29, 2013
                                                   10:10 a.m.
11   Before:

12                         HON. SHIRA A. SCHEINDLIN,

13                                                 District Judge

14

15                                 APPEARANCES

16
     MCCARTER & ENGLISH
17        Attorneys for Plaintiff
     BY: SCOTT CHRISTIE
18        MARK ANANIA
          MATTHEW SKLAR
19        KEITH MCWHA

20   OLSON & CEPURITIS
          Attorneys for Defendant
21   BY: JOSEPH KUO
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22        BRIAN MICHALEK

23

24

25


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1               (Case called)

2               THE COURT:   Do you want the jury selection on the

3    record?    Typically we don't but sometimes lawyers want it.         We

4    need to know so that the court reporter knows whether to stay

5    or to leave.

6               MR. CHRISTIE:     I think we are good without it, Judge.

7               THE COURT:   Okay.

8               (Jury voir dire conducted off the record)

9               THE COURT:   Mr. Christie, is the jury satisfactory?

10              MR. CHRISTIE:     It is satisfactory to the plaintiff,

11   yes.

12              THE COURT:   Mr. Kuo, is the jury satisfactory?

13              MR. KUO:   Yes.

14              THE COURT:   Good.    Then I'm going to now swear the

15   jury.

16              (A jury of eight was impaneled and sworn)

17              THE COURT:   Ladies and gentlemen, what I'm going to do

18   now is give you preliminary instructions.         They're a little

19   longer than usual because this is a patent case so it is a

20   little complicated.     My preliminary instructions actually

21   include a little bit of a video to give you some background in

22   this area.    After I finish the preliminary instructions we are

23   going to take our luncheon recess.       When you come back from

24   lunch we'll have the opening statements.        Okay?    Everybody can

25   hear me?


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1               THE JURY:    Yes.

2               THE COURT:   Okay, good.

3               So now that you have been sworn I want to tell you

4    something about your duties as jurors and give you these

5    preliminary instructions.      At the end of the trial I will give

6    you more detailed instructions and it is those instructions

7    that will control your deliberations.        At the end of the

8    presentation of all of the evidence and my final charge to you

9    it will then be your duty to decide from the evidence what the

10   facts are.    You, and you alone, are the judges of the facts.

11   You will hear the evidence, decide what the facts are, and then

12   apply those facts to the law which I will explain to you and

13   that's how you will reach your verdict.        In doing that you must

14   follow the law whether you agree with it or not.

15              You must not take anything I may say or do during the

16   trial as indicating what your verdict should be.          Don't be

17   influenced by what I'm writing on the computer, that is not

18   your concern.    You shouldn't say that must be important, she's

19   writing.    It may have nothing do in fact with what is going on

20   with the trial so don't be concerned with it.

21              You will decide what the facts are from the evidence

22   that will be presented here in the courtroom.         That evidence

23   will consist of the testimony of witnesses, documents and other

24   things that are received into evidence as exhibits and any

25   facts on which the lawyers may agree or stipulate to or that I


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1    may instruct you to find.

2              There are two kinds of evidence; direct evidence and

3    circumstantial evidence.      Direct evidence is testimony by a

4    witness about what that witness personally saw or heard or did.

5    Circumstantial evidence is indirect evidence, that is, it is

6    proof of one or more facts from which you can find another

7    fact.

8              You may consider both direct and circumstantial

9    evidence in deciding this case.       The law permits you to give

10   equal weight to both direct and circumstantial evidence or no

11   weight to it for it is up to you to decide how much weight, if

12   any, to give to any piece of evidence.

13             As the sole judges of the facts, you must determine

14   which of the witnesses you believe, what portion of their

15   testimony you accept, and what weight you attach to it.

16             At times during the trial I may sustain objections to

17   questions that are asked.      When that happens, I will not permit

18   the witness to answer or, if the witness has already answered,

19   I shall instruct you that the answer be stricken from the

20   record and that you disregard it and dismiss that particular

21   answer from your minds.

22             In reaching your decision you may not draw any

23   inference from an unanswered question so the question, of

24   course, is not evidence, only the answer, nor should you

25   consider any testimony that I have ordered stricken from the


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1    record.

2              The law requires that your decision be made solely

3    upon the evidence before you.       The items I exclude from your

4    consideration will be excluded because they are not legally

5    admissible as evidence.

6              The law does not, however, require you to accept all

7    of the evidence that I do admit.       In determining what evidence

8    you will accept you must make your own evaluation of the

9    testimony given by each of the witnesses and of the documents

10   presented to you and determine the weight that you choose to

11   give to each witness' testimony or exhibit.         There is no

12   magical formula by which you should evaluate either testimony

13   or exhibits.    I will, however, give you some guidelines for

14   determining the credibility of witnesses at the end of the

15   case.

16             At this time, suffice it to say, that you bring with

17   you to this courtroom all of the experience and background of

18   your lives.    You do not have to leave your common sense outside

19   the courtroom.    The same types of tests that you use in your

20   everyday dealings are the same kinds of tests you will use

21   during your deliberations.

22             As I have explained, the questions and objections of

23   the attorneys are not evidence, nor is any testimony that I

24   tell you to disregard.     The statements and arguments of the

25   attorneys during any part of the trial are also not evidence.


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1    Further, anything you may see or hear when court is not in

2    session, even if what you hear or see is said or done by one of

3    the parties or one of the lawyers or one of the witnesses,

4    that's not evidence, only what is admitted into evidence here

5    when the court is in session and all of the parties and jurors

6    are present, only that is competent evidence.

7               Now, I want to caution you about certain principles

8    governing your conduct as jurors.       First, please do not

9    communicate with each other about this case or with anyone

10   involved with this case until the end of the case when you go

11   to the jury room to decide on your verdict.

12              Second, do not communicate with anyone else about this

13   case or with anyone who is involved with this trial until the

14   trial has ended and you have been discharged as jurors.             The

15   term "anyone else" does include members of your family and your

16   friends.    You of course can say to them that you were picked as

17   a juror and you can say it is a civil case; you can probably

18   even say it is a patent case, but that's it.         You shouldn't

19   discuss the case, you shouldn't discuss anything about the case

20   until you have been discharged.

21              Additionally -- and this is very important in today's

22   world -- do not post any information on the internet about your

23   service as a juror or any information about the case on

24   Facebook, MySpace, Twitter, blogs, web services that would

25   violate your duty as jurors.


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1               Third, do not let anyone talk to you about the case or

2    with anyone who is involved with the case.         I'm sure it

3    wouldn't happen in this case of case but if anyone should talk

4    to you, that would be improper; you can report it to my clerk

5    and my clerk will tell me.

6               The lawyers and their clients all know that they're

7    not supposed to speak to any juror or even acknowledge you with

8    hello or good morning outside the courtroom.         Therefore if you

9    bump into one of these lawyers in the morning and they're not

10   nice to you, it is because they're told not to say anything to

11   you.    They're certainly not rude but know they shouldn't have

12   any contact with you.     The reason is simple:      Someone watching

13   from a distance might not hear what is said between an attorney

14   and juror so even a pleasantry like good morning would create a

15   misimpression.

16              Fourth doesn't apply to this case, I don't know why

17   I'm saying it:    Don't read anything in the newspaper about this

18   case.    But there won't be anything in the newspaper about this

19   case.    It is not that kind of case.

20              Fifth, and this is important:      Do not do any research

21   or investigation about the case on your own.         That would

22   violate your duty as a juror.       It is tempting to go home on the

23   internet and start Googling these companies.         You must not do

24   that.    Everything you learn about a trial you learn in the

25   courtroom and these days it is hard to police that because it


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1    is easy to do.    I can only tell you you mustn't do that.          In

2    the old days people, to violate my instruction, had to go to

3    the library and it would be a trip.        Now you can go to your

4    computer.   The reason is simple:      The parties are entitled to

5    you have personally render a verdict in this case on the basis

6    of your independent evaluation of the evidence presented here

7    in the courtroom after you deliberate together with the other

8    jurors.   Obviously if you speak to anyone else including your

9    family and friends about the case outside of the deliberation

10   process, or if you tried to find evidence on your own, that

11   compromises your service and your fairness to the parties.

12             Now, because this is a civil case you may have heard

13   of a term that doesn't apply here.       In a criminal case there is

14   a phrase called "proof beyond a reasonable doubt."          That's only

15   for criminal cases.     That requirement does not apply to civil

16   cases, you should put that phrase out of your mind.

17             In civil cases the burden of proof is different, it is

18   called proof by a preponderance of the evidence.          When a party

19   has the burden of proof on any claim or defense by a

20   preponderance of the evidence it means simply that the evidence

21   must persuade you that the claim or the defense is more

22   probable than not.     As to some claims and defenses the parties

23   have a different burden.      Sometimes we have a burden here

24   called proof by clear and convincing evidence.         That's higher

25   than a preponderance of the evidence.        When a party has the


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1    burden of proving any claim or defense by clear and convincing

2    evidence it means the evidence has persuaded you that the claim

3    or defense is highly probable.       So, such evidence requires a

4    higher standard, as I said, than proof by a preponderance of

5    the evidence, and of course I will explain this to you much

6    more fully and all over again in my final charge.

7              Now, this case involves a dispute over a United States

8    patent.   Before summarizing the positions of the parties and

9    the legal issues involved in this dispute I want to explain

10   what a patent is and how one is obtained.

11             The United States Constitution grants Congress the

12   power to enact laws to promote the progress of science and

13   useful arts by securing, for limited times, to authors and

14   inventors, the exclusive right to their respective writings and

15   discoveries.    Using this power, Congress has enacted the patent

16   laws.

17             Patents are granted by United States Patent &

18   Trademark Office which we call the PTO.        A valid U.S. patent

19   gives the patent-holder the right for up to 20 years from the

20   date of the patent application was filed to prevent others from

21   making, using, offering to sell or selling the patented

22   invention within the United States or from importing it into

23   the U.S. without the patent-holder's permission.          A violation

24   of the patent-holder's rights is called infringement.           The

25   patent holder may try to enforce a patent against persons


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1    believed to be infringers by a lawsuit filed in federal court.

2               The process of obtaining a patent is called patent

3    prosecution.    To obtain a patent, one must file an application

4    with the PTO.    The PTO is an agency of the federal government

5    and employs trained examiners who review applications for

6    patents.    The application includes a section called the

7    specification which must contain a written description of the

8    claimed invention telling what the invention is, how it works,

9    and how to make and use it so that others skilled in the field

10   will know how to make and use it.

11              The specification concludes with one or more numbered

12   sentences and these are the patent claims.        When the patent is

13   eventually granted by the PTO the claims define the boundaries

14   of its protection and give notice to the public of those

15   boundaries.    Claims can be independent or dependent.        An

16   independent claim is self-contained.       A dependent claim refers

17   back to an earlier claim and includes the requirements of the

18   earlier claim.

19              After the applicant files a patent application, a PTO

20   patent examiner reviews it to determine whether the claims are

21   patentable and whether the specification adequately describes

22   the invention claimed.

23              In examining a patent application the patent examiner

24   reviews records available to the PTO for what is referred to as

25   prior art.    The examiner will also review prior art if it is


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1    submitted to the PTO by the applicant.        Prior art is defined,

2    by law, and at a later time I will give you specific

3    instructions on what constitutes prior art.        However, in

4    general, prior art includes things that existed before the

5    claimed invention that were publicly known or used in the

6    publicly accessible way in this country, or that were patented

7    or described in a publication in any country.         The examiner

8    considers, among other things, whether each claim defines an

9    invention that is new, useful and not obvious when compared

10   with the prior art.     A patent lists the prior art that the

11   examiner considers.     This list is called the cited references.

12             After the prior art search and examination of the

13   application, the patent examiner then informs the applicant, in

14   writing, what the examiner has found and whether any claim is

15   patentable and thus will be allowed.       This writing, from the

16   patent examiner, is called an office action.         If the examiner

17   rejects the claims, the applicant then responds and sometimes

18   changes the claims or submits new claims.        This process which

19   takes place only between the examiner and the patent applicant

20   may go back and forth for some time until the examiner is

21   satisfied that the application and claims meet the requirements

22   for a patent.

23             The papers generated during this time of communication

24   back and forth between the patent examiner and the applicant

25   make up what is called the prosecution history.         All of this


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1    material becomes available to the public no later than the date

2    when the PTO grants the patent.       Just because the PTO grants a

3    patent does not necessarily mean that any invention claimed in

4    the patent is in fact legally entitled to the protection of a

5    patent.   However, a patent is presumed to be valid.

6    Nonetheless, the examiner may not have had available all the

7    information that will be presented to you during this trial.

8              A person or company accused of infringement has the

9    right to argue, here in federal court, that a claimed invention

10   of the patent is not entitled to patent protection because it

11   does not meet the requirements for a patent.         In other words,

12   an accused infringer may defend a suit for patent infringement

13   on the grounds that the patent is invalid.

14             Now I'm going to be playing for you a 17-minute video

15   that was designed to show to jurors in patent jury trials.          It

16   contains important background information that was intended to

17   help jurors understand what patents are and why they're needed

18   and how inventors obtained them, the role of the PTO, and why

19   disputes about patents often arise.       The video is entitled an

20   introduction to the patent system.       It was developed with the

21   assistance of an advisory committee of district judges --

22   judges like myself -- and patent attorneys working together.

23             Special care was taken to ensure that it provides an

24   impartial and objective view of the patent process.          However,

25   although the video I'm about to show you was crafted with great


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1    care, it was not created with this specific trial in mind.

2    Because of that, it might contain information that is not

3    relevant to the case that is about to be presented to you.          For

4    example, the video is going to discuss something called the

5    best mode requirement which is not relevant to this case.           It

6    will also discuss proof by a preponderance of the evidence

7    which is relevant to some portions of this case but it will not

8    discuss proof by clear and convincing evidence which is

9    relevant to some portions of this case.        Furthermore, this

10   video was created in 2002 and some points of law might have

11   changed a bit since then.

12             In light of all of this you should take the video for

13   what it is:    A general induction to the patent system -- but

14   you must rely on my instructions at the end of the case, not

15   anything contained in the video, for all the points of law that

16   you will need to decide this case.

17             Now, while playing the video there is a handout of

18   sort of a sample patent that was designed to be given to you as

19   you watch the video.     So, my clerk is going to give you the

20   handout and then the parties will start playing the video.

21             Are we ready?    Are we teed up to play it?       Okay.

22             SPEAKER:   What a patent is.     We hope to answer that

23   concern with this brief video which will give you some of the

24   background needed to do your job.

25             This case will involve some special issues that the


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1    Judge and lawyers will explain to you but all patent cases

2    involve some basics that you will learn about.

3              This video will discuss what patents are, why we have

4    them, how people get them, and why there are disputes that

5    require us to call in a jury like you.        We will also show you

6    what patents look like.

7              The United States Constitution gives Congress the

8    power to pass laws relating to patents.        It allows Congress to

9    promote the progress of science and useful arts by securing,

10   for limited times to authors and inventors, the exclusive right

11   to their respective writings and discoveries.         A patent then is

12   an official grant by the United States government that gives

13   its owner certain rights to an invention.        Those include the

14   right to keep others from making, using, selling or offering

15   for sale the invention that is described in the patent.

16             A patent lasts for a specific period of time, usually

17   20 years, and represents a bargain made between the government

18   and the inventor.    In return for the right to keep others from

19   using the invention, the inventor must enhance the public

20   knowledge -- or what we sometimes call the state of the art --

21   by adding something new and useful to it.        An example is Thomas

22   Edison's invention of the light bulb.        During the lifetime of

23   the patent its disclosure may inspire new inventions and after

24   it expires, the invention is free for anyone to use.          It is

25   this giving of something new and valuable to the public that


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1    justifies giving a patent to the inventor.

2              A patent is in many ways like a deed to a piece of

3    property.   It grants the owner the right to keep people off the

4    property or to charge them a fee like rent for using it.            And

5    just as a deed sets limitation of the rights on the landowner,

6    a patent sets limits on the rights of an inventor.

7              The patent system works because the inventor is

8    required to describe the invention in clear and specific terms

9    so that the public knows what the boundaries of the invention

10   are.   Once a patent is issued by the government it becomes

11   available for public inspection.       In that way anyone who learns

12   of the patent and is interested can read it and understand

13   exactly what the inventor has claimed to have invented.

14             Now that we understand what a patent is, let's take a

15   closer look at the term invention.

16             An invention is a new way of solving a problem.           The

17   patent process begins in the mind of the inventor and, in

18   particular, when the invention is formulated in the mind of the

19   inventor.   Patent lawyers call this conception.        This is when

20   the idea occurs to the inventor clearly enough that he or she

21   can write it down and explain it to someone.

22             To qualify for a patent the invention needs to be new

23   and useful.    Also it must not be obvious to one of ordinary

24   skill in the field.     If the inventor believes these

25   requirements are met, he or she will prepare an application for


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1    filing with the United States Patent & Trademark office in

2    Washington, D.C.    The patent and trademark office, often called

3    the PTO, is the agency of the federal government whose job it

4    is to examine patent applications to make sure they are in

5    proper form and comply with the requirements of the law.            The

6    inventor can prepare the application for filing with the PTO

7    but usually it is drafted by an attorney who specializes in

8    this work or by a patent agent who is not an attorney.          The

9    attorney or agent works with the inventor to be sure the

10   invention is described and claimed in a way that complies with

11   the law and the regulations of the PTO.

12             As you can see, the application is basically a

13   typewritten document in which the inventor describes the

14   invention he or she is trying to protect.        When the PTO

15   receives the inventor's application, it assigns a patent

16   examiner -- a staff person -- with a background in the field or

17   art the invention falls within to examine the application and

18   decide whether a patent can be granted.

19             You've been given a sample patent to refer to as you

20   watch this video so you already have a sense of what a patent

21   looks like, but now let's take a closer look at the three main

22   parts to a patent.

23             To begin with there are some basic identifying

24   information on the first page.      This material is highlighted in

25   your handout.    On the upper right side of the page is the


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1    number assigned to the patent by the government.         On the left

2    side is a title that describes the invention, the names of the

3    inventors and sometimes the company they have assigned the

4    patent to and the date when the patent application was filed.

5    There is also more detailed information on the first page

6    including a list of numbers following the caption field of

7    search.   These numbers identify previously issued patents the

8    examiner looked at or searched to make sure the applicant's

9    claimed invention really is something new, not obvious, and

10   thus patentable.    Also listed on the first page are what we

11   call references; that is previous patents or articles that

12   describe the technology or prior art known at the time the

13   application was filed.

14             It may seem strange to you that we call this

15   pre-existing technology prior art even though it has nothing to

16   do with artists.    We use the word art in its broadest sense to

17   include inventions and other subject matter reasonably related

18   to the claimed invention.      We also refer to the latest

19   technology as state of the art and we say if someone who can

20   understand and apply the technology that he or she is skilled

21   in the art.

22             The second major part of the patent is what we call

23   the specification or written description.        As is the case in

24   your sample, it is usually the longest part of the patent.          It

25   includes an abstract which is a brief summary of the invention,


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1    a background section that describes the nature of the problem

2    the invention is supposed to solve, one or more drawings called

3    figures that illustrate various aspects of the invention, and a

4    detailed description of one or more embodiments of the

5    invention.   An embodiment is a specific device or method that

6    uses the invention such as a particular form of light bulb.

7              The third and most important part of the patent is the

8    claims.   These are the numbered paragraphs that appear at the

9    end.   The claims are what give the public notice of the

10   boundaries of the invention.      They are similar to the

11   description of property you may have seen in a deed referring

12   to precise measurements taken on the ground.

13             Now that we've discussed the main parts of a patent

14   let's take a look at how the PTO processes patent applications.

15   This process which is called prosecution of the patent

16   application begins when the inventor's application arrives at

17   the PTO mail room.     There it receives a stamp that establishes

18   its filing date.    Every year the PTO receives over 300,000

19   applications and issues more than 150,000 patents.

20             Applications go from the mail room to the office of

21   initial patent examination which looks them over to make sure

22   all the required parts are there.       This office also decides

23   what field of technology an application relates to and assigns

24   it to the appropriate examining group.        Soon it is assigned to

25   an individual patent examiner for handling.        It then gets put


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1    in a stack to wait its turn for examination.         The reason is

2    that examiners have to review the applications assigned to them

3    in the order in which they have been filed.        In time, the

4    examiner turns to our inventor's application and begins by

5    reading it, especially the specification and claims in order to

6    come to a conclusion about whether the inventions described in

7    the claims are patentable.      A patent might contain one claim or

8    many claims and the examiner must make this conclusion about

9    each individual claim.     In order to make that decision the

10   patent examiner usually looks at patents that have been issued

11   previously in the same or very closely related fields of art.

12   In most areas of technology the examiner also has computer

13   databases that contain limited additional information.

14             Another part of the job is to decide if the inventor's

15   description of the invention is complete and clear enough to

16   meet the requirements for a patent including the requirement

17   that the description enables someone of ordinary skill in the

18   field to actually make and use it.       It is important to note

19   that the process of patent examination is private.          That is,

20   the public does not know that someone has applied for a patent

21   on an invention until the patent issues or, in some cases,

22   until the application has been pending for at least 18 months.

23   The reason for this secrecy is to give the inventor a chance to

24   get the examiner's reaction to the application and decide

25   whether to withdraw it for whatever reason and keep the


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1    invention as confidential information.        However, because the

2    process occurs mostly in private and because the job of

3    examining so many applications is very challenging, the law

4    requires the applicant to tell the examiner whatever he or she

5    knows about the prior art that might be important to the

6    examiner's decision on whether to allow the patent.          We call

7    this the applicant's duty of candor.       One way the applicant can

8    satisfy this duty is by bringing certain prior art to the

9    attention of the examiner either in the original application or

10   in other submissions called information disclosure statements.

11   In this way the decisions of the examiner are based on both the

12   information provided by the applicant and on the information

13   the examiner is able to find during the examination process.

14   Sometimes the examiner concludes the application meets all the

15   requirements we've discussed and allows the patent to issue at

16   this first stage but more frequently the examiner will reject

17   the application as deficient in some respect.         At that point

18   the applicant usually prepares a written response either

19   agreeing or disagreeing with the examiner.        An applicant who

20   agrees with the examiner can submit amendments to the

21   application designed to overcome the examiner's objection and

22   an applicant who disagrees with the examiner can explain the

23   reasons for the disagreement.      This exchange of office actions

24   and responses goes on until the examiner issues a final office

25   action which may reject or allow some or all of the applicant's


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1    claims.   Once a final PTO office action has occurred and one or

2    more claims have been allowed, the applicant is required to pay

3    an issuance fee and the patent is granted.

4              Then, on the date shown in the upper right corner of

5    the first page of the patent, it is issued by the PTO and the

6    inventor receives all the rights of a patent.         That date is

7    highlighted on your sample.      By the time a patent issues and

8    the public can take a look at it, the record of what the

9    examiner did is also made public.       This is the patent's file

10   which we call the prosecution history.        The file history

11   contains the original application and all the communications

12   between the applicant and the patent examiner including a

13   record of any rejections, the applicant's responses, and any

14   amendments.

15             Once a patent is issued, the inventor or the person or

16   company the inventor has assigned the patent to can enforce the

17   patent against anyone who uses the invention without

18   permission.    We call such unlawful use infringement.        But, the

19   PTO and its examiners do not decide infringement issues.            If

20   there is a dispute about infringement it is brought to the

21   Court to decide.    Sometimes in a court case you are also asked

22   to decide about validity, that is, whether the patent should

23   have been allowed at all by the PTO.

24             A party accused of infringement is entitled to

25   challenge whether the asserted patent claims are sufficiently


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1    new or non-obvious in light of the prior art, or whether other

2    requirements of patentability have been met.         In other words, a

3    defense to an infringement lawsuit is that the patent in

4    question is invalid.

5              You may wonder why it is that you would be asked to

6    consider such things when the patent has already been reviewed

7    by a government examiner.      There are several reasons for this:

8    First, there may be fact or arguments that the examiner did not

9    consider such as prior art that was not located by the PTO or

10   provided by the applicant.      Another reason may be the failure

11   by the applicant to disclose the best way of making or using

12   the invention which is another requirement for getting the

13   patent.   In addition there is, of course, the possibility that

14   mistakes were made or important information overlooked.

15   Examiners have a lot of work to do and no process is perfect.

16             Also, unlike a court proceeding, prosecution of a

17   patent application takes place in private without input from

18   people who might later be accused of infringement.          So, it is

19   important that we provide a chance for someone who is accused

20   of infringement to challenge the patent in court.

21             In deciding issues of infringement and validity it is

22   your job to decide the facts of the case.        The judge will

23   instruct you about the law which may include the meaning of

24   certain words or phrases contained in the patent but it is up

25   to you, as exclusive judges of the facts, to apply the facts as


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1    you find them to the law and decide the questions of

2    infringement and validity in the case before you.         To prove

3    infringement the patent holder must persuade you that it is

4    more likely than not that the patent has been infringed.            To

5    prove that a patent is invalid the law requires a higher

6    standard of proof since the PTO is presumed to have done its

7    job correctly.    The party accused of infringement must persuade

8    you that it is highly probable that the patent is invalid.

9               Good luck with your task and thank you for your

10   service.

11              THE COURT:   Okay.   So I hope that video was somewhat

12   helpful.    I'm going to continue with my instructions now.         I

13   don't think I will be able to finish them before the luncheon

14   break but I will get as far as I can.        Let me tell you more now

15   about this case.

16              This case, as you know, involves a dispute between two

17   parties -- the plaintiff Medisim, as you know, the defendant

18   BestMed, as you know.     Also, there is a company called K-Jump

19   Health Company which is not a party to the lawsuit but you will

20   hear about them too and so I wanted you to know their name.

21              To help you follow the evidence I want to give you a

22   summary of the positions of the parties.

23              The case here involves U.S. patent number 7,597668.

24   We call it the '668 patent.      It was obtained by Moshe Yarden --

25   you met him before -- he is the CEO of Medisim and was


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1    transferred by Mr. Yarden to Medisim.        For your convenience we

2    are all going to call it the '668 patent.

3              Medisim filed suit in this court seeking money damages

4    from BestMed for allegedly infringing the '668 patent.          Medisim

5    claims that BestMed directly infringed claims 1, 8, 9, 10, 11,

6    12, 15, 19 and 36 of the '668 patent by making, importing,

7    using or selling or offering for sale certain thermometers in

8    or into the United States.      Medisim also asserts that BestMed

9    indirectly infringed these claims by inducing the infringement

10   of these claims by other parties.       Claims 1, 8, 9, 10, 11, 12,

11   15, 19 and 36 of the '668 patent may be referred to as

12   apparatus claims because they concern an apparatus or device,

13   namely a thermometer.

14             Medisim also contends that BestMed infringed claims

15   21, 27, 32, 35 and 37 of the '668 patent.        Medisim alleges that

16   BestMed infringed these claims only indirectly, that is, by

17   inducing others to infringe on these claims and/or by

18   contributing to the infringement of these claims by others.

19   Claims 21, 27, 32, 35 and 37 of the '668 patent may be referred

20   to as method claims because they concern a method of performing

21   a particular process, namely operating or using a thermometer.

22   The products and methods that are alleged to have infringed

23   involved thermometers manufactured by K-Jump and imported into

24   and sold by BestMed in the United States.

25             BestMed denies that it either directly or indirectly


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1    infringed any claims of the '668 patent.        BestMed also contends

2    that claims of the '668 patent are invalid for several reasons.

3               I will instruct you later as to the ways in which a

4    patent may be invalid.     In general, however, a patent may be

5    found to be invalid if it is not new or is obvious in view of

6    the state of the technology at the relevant time, or if the

7    description in the patent does not meet certain requirements.

8               Your job will be to decide whether or not claims of

9    the '668 patent have been infringed and whether or not those

10   claims are invalid.     If you decide that any claim of the '668

11   patent has been infringed and that the patent is not invalid,

12   you will then need to decide the amount of any money damages to

13   be awarded to Medisim to be compensated for this infringement.

14   You will also need to make a finding as to whether the

15   infringement was willful.      If you decide that any infringement

16   was willful, that decision should not affect any damages award

17   you give.    I will take willfulness into account at a later

18   time.

19              Furthermore, you will need to decide if Medisim has

20   proven that BestMed infringed Medisim's rights of copyright,

21   engaged in unfair business competition with Medisim or was

22   unjustly enriched at the expense of Medisim.         All of these

23   claims relate to the thermometers imported, used, and sold by

24   BestMed.

25              These preliminary statements that I just gave you


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1    should not be taken as an indication that I have any view

2    regarding issues such as infringement and invalidity.          They are

3    solely to introduce you to the parties' contention.          The

4    decision on whose positions are correct is up to you, the jury.

5               Now, in deciding the issues I just discussed you will

6    be asked to consider specific legal standards.         I will give you

7    a quick overview of those standards now but will review them in

8    greater detail at the time that you are instructed to reach a

9    verdict.

10              The first issue you will be asked to decide is whether

11   BestMed has infringed the '668 patent.        Infringement is

12   assessed on a claim by claim basis.       Therefore, there may be

13   infringement as to one claim but not infringement as to another

14   claim.

15              There are a few different ways that a patent may be

16   infringed.    I will explain the requirements for each of these

17   types of infringement to you in detail at the conclusion.           In

18   general, however, a person might infringe a patent by making,

19   using, selling or offering for sale in the United States or by

20   importing into the United States a product or by using a method

21   meeting all the requirements of a claim of another person's

22   patent.    A person may also indirectly infringe a patent by

23   contributing to the infringement of another or by inducing

24   another person or entity to infringe.        I will provide you with

25   more detailed instructions on these requirements for each of


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1    these types of infringements at the end of the case.

2              Another issue you will be asked to decide is whether

3    the '668 patent is invalid.      As an initial matter, a patent

4    issued by the PTO is presumed under the law to be valid.

5    However, a patent may be invalid for a number of reasons

6    including because it claims subject matter that is not new or

7    is obvious.

8              All right.    At this point I think I should pause

9    because I can't finish in time.       When you return I just have a

10   few more minutes and we will go right into the parties' opening

11   statement.    And, I hope by the time you return it is much

12   cooler.   I know it is a little better but I would like it to be

13   a lot better.

14             So, if you would please return at five after 2:00,

15   that gives you an hour and a quarter we will pick up there.

16             Have a good lunch.     Thank you.

17             A JUROR:   Is there somewhere to go in the building or

18   do you have to leave the building?

19             THE COURT:    There is a rule on not using the

20   cafeteria.    I think you were instructed on that.       I don't

21   believe in the rule, I'm sure the lawyers wouldn't talk to you

22   and I will tell you a secret:      It is on the 8th floor.

23             A JUROR:   One other question.      I see everybody else

24   has water.    Can we bring water back?

25             THE COURT:    Yes.


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1              A JUROR:   Thank you.

2              A JUROR:   I have a question:      Are we supposed to keep

3    this or give it back?

4              THE COURT:    You can leave it here.     That's fine.

5    Thank you.

6              A JUROR:   Okay.

7              THE COURT:    All right, folks.     5 after 2:00.    I have

8    less than five more minutes and we will go right into opening.

9              (Jury not present)

10             (Luncheon recess)

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1              A F T E R N O O N      S E S S I O N

2              (In open court; jury not present)

3              THE DEPUTY CLERK:     All rise.

4              2:10 p.m.

5              THE COURT:    They're not back.     They're here?    Okay.

6              (Jury entering the courtroom)

7              THE COURT:    Who is opening for the defense?       Mr. Kuo,

8    are you opening?

9              MR. KUO:    Mr. Cepuritis.

10             THE COURT:    Oh.   And you're opening, Mr. Christie?

11             MR. CHRISTIE:    Yes, Judge.

12             (Jury present)

13             THE COURT:    All right, everyone please be seated.

14             I know it's just the first day, and probably hard for

15   you to judge how long it would take to eat out, but we were all

16   here at 2:05, so please, in the future, please try and get back

17   at the appointed time.     I know you weren't in charge of the

18   restaurant, but.

19             We'll pick up where left off.       So just to give you the

20   context, I'll repeat one of the paragraphs I read before to

21   give the introduction.     I think I said another issue you will

22   be asked to decide is whether the '668 patent is invalid.           As

23   an initial matter, a patent issued by the PTO is presumed,

24   under the law, to be valid.      However a patent may be invalid

25   for a number of reasons, including because it claims subject


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1    matter that is not new or is obvious.        For a claim in '668

2    patent to be invalid because it is not new BestMed must show,

3    by clear and convincing evidence, that all of the elements of

4    the claim are present in a single previous device or method or

5    sufficiently described in a single previous printed publication

6    or patent.

7               As I stated earlier, these are called prior art.         If a

8    claim is not new, it is said to be anticipated.         Another way

9    that BestMed could prove that a claim of the '668 patent was

10   invalid is by proving by clear and convincing evidence that it

11   was obvious.    Even though every element of a claim is not shown

12   or sufficiently described in a single piece of prior art, the

13   claim may still be invalid if it would have been obvious to a

14   person of ordinary skill in the field of technology described

15   in the '668 patent at the relevant time.

16              You will need to consider a number of questions in

17   deciding whether the inventions claimed in the '668 patent are

18   obvious.    Of course, I will provide you with detailed

19   instructions on these questions at the conclusion of the case.

20              A patent may also be invalid if the description of the

21   invention given in the specification section of the patent does

22   not meet certain requirements.      One such requirement is called

23   the "written description requirement."        In order to meet the

24   written description requirement, the description of the

25   invention in the specification portion of the patent must be


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1    detailed enough to demonstrate that the applicant actually

2    invented the invention claimed in the claims portion of the

3    patent.

4              In order to be valid, a patent must also meet the

5    enablement requirement.     To meet this requirement, the

6    description of the invention given in the patent has to be

7    sufficiently full and clear to have allowed persons of ordinary

8    skill in the field of technology of the patent to make and use

9    the invention without undue experimentation at the time the

10   patent application was originally filed.        The written

11   description requirement and the enablement requirement are

12   separate and distinct.     For example, a patent might meet the

13   enablement requirement because a skilled artisan would be able

14   to build the invention based on the patent's written

15   description but, nonetheless, fail to meet the written

16   description requirement because the written description failed

17   to demonstrate that the inventor actually invented the

18   invention claimed.

19             If you decide that any claim of the '668 patent has

20   been infringed and that the patent is not invalid, then you

21   will decide about whether to award money damages to Medism to

22   compensate it for the infringement.

23             In addition to its claims of patent infringement,

24   Medisim claims that BestMed has infringed its right of

25   copyright.   In order to prevail on its copyright infringement


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1    claim, Medisim must prove two things.        First, Medisim must

2    prove that it is the owner of a work protected by the copyright

3    act; second, that BestMed has infringed one or more of the

4    rights in that work granted to Medisim by the Copyright Act.

5    Each of these aspects has several elements that I will explain

6    to you at the conclusion of the case.

7              Medisim also claims that it is entitled to damages

8    because BestMed has violated New York State laws.

9    Specifically, Medisim claims that BestMed's acts constitute

10   unfair competition under New York State law, and that BestMed

11   has been unjustly enriched at the expense of Medisim.

12             Now, I will conclude simply by telling you the stages

13   of a trial.    First, each party here, I think, intends to make

14   an opening statement.     An opening statement is neither the

15   evidence nor argument.     It is an outline of what that party

16   intends to prove, and it's offered to help you follow the

17   evidence.

18             Next, the plaintiff will present witnesses, and the

19   defendant has a right to cross-examine those witnesses.             Then,

20   if desired, the defendant will present witnesses and the

21   plaintiff may cross-examine them.

22             Here at this trial some of the witnesses that

23   plaintiff will call are also defendant's witnesses, so they'll

24   just testify once.     Even though the plaintiff calls them, the

25   defendant will also, in essence, be calling them at the same


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1    time.

2              I may also permit at the end of the case the plaintiff

3    to present additional witnesses to rebut any evidence that the

4    defendant may put in, but that's very unusual and unlikely to

5    happen.

6              After that, the attorneys will make closing arguments

7    to summarize and to give you their interpretation of the

8    evidence.   Like opening statements, the closing arguments are

9    not, themselves, evidence.

10             After those arguments, then I will instruct you on the

11   law, and then you will retire to deliberate on your verdict.

12   Please do not make up your mind about what the verdict should

13   be until after I've instructed you on the law at the end of the

14   case and you've gone to the jury room and you and your fellow

15   jurors have discussed the evidence.       Please keep an open mind

16   until then.    The parties deserve and the law requires that you

17   give them an opportunity to be fully heard before you decide

18   the case.

19             So with that, Mr. Christie, do you wish to make an

20   opening statement?

21             MR. CHRISTIE:    I do, Judge.    Thank you.

22             May I proceed?

23             THE COURT:    Please.

24             MR. CHRISTIE:    Thank you.

25             Ladies and gentlemen, good afternoon.        My name is


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1    Scott Christie.    You and I spoke -- well, I actually didn't

2    speak, but you saw me earlier.      We represent Medisim in this

3    case.

4              This is a case about patent infringement, but it's not

5    about a stranger who infringed the patent.        It's about an

6    infringer who was a business partner, people who were in a

7    business relationship with each other.        So not only is this

8    case about patent infringement, as you heard from the Judge,

9    but it's also about deception and betrayal in a business deal.

10   It was a business partner who was really a business competitor.

11             You heard about the parties in this case.         We

12   represent Medisim.     Mr. Moshe Yarden is here, you saw him

13   earlier, he's the president and the CEO of Medisim, but he's

14   also an inventor.    And you will hear that he is the inventor of

15   the patent at issue in this case which is going to be referred

16   to as the '668 patent.

17             Medisim is a small startup company located in Israel.

18   And you will hear about their products.        You'll hear about

19   their efforts to sell their thermometer products in the U.S.

20   market, which brought them in relationship to BestMed, the

21   defendant here.

22             You will also hear from John Wilson who was BestMed's,

23   I'm sorry, who is Medisim's U.S. president for the U.S.

24   operations.

25             So as you heard the Judge say, Medisim is a plaintiff


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1    in this case and the legal claims here are against BestMed for

2    patent infringement, for unfair business competition, for

3    unjust enrichment, and for copyright infringement.

4              The defendant in this case is called BestMed.         They're

5    located in Colorado, and they're a larger company who

6    distributes medical devices and sells them in the U.S,

7    including thermometers.     And they sell many of their products

8    to large chains chain store, pharmacies and big box retailers

9    like CVS, Rite Aid, Walmart, and Walgreens.        And you'll see

10   during the course of the trial that many of the devices

11   actually carry the Walgreens or the Walmart name on them.

12   That's called private labeling.       It's not selling the product

13   under the brand name of the manufacturer, but under the brand

14   name of the retailer.

15             So in the medical device industry, and especially in

16   the thermometer industry, it's quite common for a Walgreens or

17   Walmart to have a device, including a thermometer, private

18   labeled that has their own name on them.        So just because it

19   has the name of Walgreens or Walmart doesn't necessarily mean

20   that Walmart manufactured it or that Walgreens manufactured it.

21             Stan Cohen is the CEO of BestMed and Michael Edmonds

22   is the president of BestMed, and you will hear them testify

23   here as well.

24             As the Judge mentioned, you will also hear about a

25   company named K-Jump.     K-Jump is a Chinese company located in


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1    Taiwan, and, again, they are not a party to this case.          There

2    are no legal claims against them, but their name is going to

3    come up frequently.     And that's because the accused devices or

4    the accused products were manufactured by K-Jump, imported into

5    the U.S. and sold by BestMed.      So because K-Jump is the

6    manufacturer of the products that are at issue, you will hear

7    quite a bit of information about them.

8               And in particular you'll hear from their president

9    Mr. Daniel Tseng, T-s-e-n-g, and you'll hear from their

10   research and development special assistant, Mr. Yen-Ming Shsu,

11   but you won't hear from them live.       They will appear by

12   videotape.    And you will see the videotape of their sworn

13   testimony in the trial.

14              And even though again K-Jump is not a party to this

15   case, you will hear, and the evidence will show that there was

16   a strong business relationship between K-Jump and BestMed.          A

17   Mr. Tseng, the president of K-Jump owns a 10 percent interest

18   in BestMed.    BestMed largely is a distributor of K-Jump

19   products in the U.S., and as a result they have a very close

20   working and business relationship.

21              So what is this case about?     Well, it starts back 2003

22   or thereabouts, and this is before the '668 paint issued.

23   Medisim again, small Israeli company manufacturing

24   thermometers.    They were looking to distribute their product in

25   the U.S.    And they had never done that before, and they needed


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1    a partner because they didn't have the capabilities of doing it

2    themselves.    And at that time their most recent technology

3    thermometer was called the FHT-1, FHT standing for four head

4    thermometer.    And there on the screen you'll see what the FHT

5    device looks like.     I have a version of it here in my hand.

6    And it's a thermometer that you use to take your temperature at

7    your temple; hold it to your temple, press the button, hold it

8    for a few seconds, and the display reads out your temperature.

9              So, again, at the time in the late -- in the early

10   2000s, that was the most recent technology thermometer that

11   Medisim had.

12             You will also hear that thermometer referred to as the

13   Medisim DTT standing for digital temple thermometer.          And that

14   was the name that BestMed chose for it at a later point in

15   time.

16             The evidence will show that this device, the FHT-1,

17   does not practice the invention of a '668 patent.         You will

18   hear that it is covered by another patent, which goes by the

19   number 6280397, and will probably be referred to commonly as

20   the '397 patent.    Just to be clear, Medisim is not claiming

21   that anyone has infringed the '397 patent in this case, just

22   the '668 patent.

23             So in early 2003, again Medisim is looking for a

24   distributor of its thermometer products.        They're located in

25   Israel.   They're a small company.      They don't have experience


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1    in the U.S. market.     So they learn about BestMed and make an

2    inquiry to BestMed, and ask to come over to Colorado to

3    demonstrate to BestMed what they're capable of and what their

4    products are.

5               So the evidence will show that BestMed agreed.           There

6    was a meeting in the spring of 2003.       And you know BestMed was,

7    I think by all indications, pleased with what they saw, and

8    wanted to move forward with the relationship.         So Mr. Yarden

9    provided BestMed with samples of the FHT-1 device.          And

10   BestMed, as you'll see, and as the evidence will show, realized

11   that that is a revolutionary product, a category changing

12   product.    In fact, BestMed was so excited about being able to

13   sell the FHT-1, that soon after the meeting it arranged a

14   meeting with a buyer at Walgreens to try and sell this FHT-1

15   product.

16              But at that time BestMed was jumping the gun, because

17   there was no agreement between Medisim and BestMed.          There was

18   no production model of the thermometer.        It was still in its

19   sample form.    And Medisim had no production capabilities.

20   Nevertheless, BestMed went ahead with the meeting and, as

21   expected, Walgreens was excited about this product and wanted

22   to place a significant order, more than 10,000 units.

23   Mr. Yarden was unsophisticated about the U.S. market, and he

24   had never sold thermometers in the U.S.        So his dealings with

25   BestMed were his first experience in this area.         And he didn't


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1    know that this meeting with Walgreens was likely to lead to an

2    immediate purchase order.      When he learned about it, he was

3    overly optimistic about being able to meet the production

4    schedule, because he wanted to have a good relationship with

5    BestMed, and he didn't fully appreciate all of the technical

6    hurdles that would come to making this product a production

7    model.   He was relying upon BestMed's judgment in this regard

8    and he wanted to maintain a good relationship because he needed

9    a business partner in the U.S. to distribute his product.

10             When this meeting with Walgreens happened and there

11   was a miscommunication about the significance of the meeting,

12   Mr. Yarden was a little uncomfortable with BestMed.          He wasn't

13   too thrilled about the judgment that they exercised in making

14   this business pitch before there was a written agreement,

15   before there was a production model of the thermometer, and

16   before there was even production capabilities set up to meet

17   the demand of Walgreens.      So in November of 2003 he pulled back

18   a little bit.    He said, you know, Mr. Cohen at BestMed, please

19   don't show my product, the FHT-1, to anyone else for a while, I

20   need to think about my business options here, so please don't

21   do that any more.

22             So you will also hear then, the evidence will show,

23   that about June 2004, after giving consideration to all of the

24   business opportunities he had available, Mr. Yarden decided he

25   was still going to go with BestMed, and he told BestMed that he


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1    would allow BestMed to market and sell the FHT-1 thermometer in

2    the U.S. on behalf of Medisim.

3               Several months thereafter, in November 2004, BestMed

4    and Medisim signed an agreement called the international

5    distribution agreement.     And you will see a copy of that

6    document in evidence in this case.       It has lot of terms in it,

7    but primarily it was an agreement to allow BestMed to be the

8    exclusive distributor of the FHT-1 thermometer for Medisim in

9    the U.S.

10              So Mr. Yarden completes the production model of the

11   thermometer, it's fully tested, and production starts rolling

12   off the production line.      So by mid 2005, Medisim begins

13   supplying the FHT-1 thermometer to BestMed so that BestMed

14   could try to sell it to Walgreens and CVS and Walmart and all

15   the other big box retailers.

16              But it took Mr. Yarden awhile to get up to speed with

17   regard to production, you'll hear.       Again, it's a startup

18   company, and he was new to meeting large quantity purchase

19   orders, and there were some growing pains in the relationship

20   between BestMed and Medisim.

21              Mr. Yarden was not used to producing thousands of

22   units at a time for shipment and distribution.         And you'll

23   hear, and we don't deny, there were some late shipments to

24   BestMed.    You'll hear there are some product returns, but

25   nothing extreme or nothing unusual in this industry, in this


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1    field.   And Mr. Yarden tried to make good by providing some

2    product for free, and absorbing some of the additional costs.

3    But again Mr. Yarden was an unsophisticated businessman in the

4    U.S. and he was trying to ramp up as best he could, and there

5    were unforeseen things along the way.        But you'll also hear

6    that soon after production started, Medisim moved some of its

7    production capability to China, and by virtue of doing that

8    many of these issues were largely resolved.

9              But more importantly, the FHT-1 quickly became a best

10   seller for BestMed.     They were selling them quicker than they

11   could get ahold of them.      They were selling thousands and

12   thousands and thousands of these thermometers to Walgreens,

13   Walmart, CVS, the big retailers that we spoke about, and

14   Medisim was looking forward to long mutually beneficial

15   relationship with BestMed.

16             But you'll see, and the evidence will show, that

17   BestMed had other ideas.      BestMed realized that K-Jump could

18   make a thermometer similar to the FHT-1 in China and charge

19   BestMed less per device than Medisim was charging.          And that,

20   of course, would give BestMed a higher profit margin.

21             So you'll see and you'll hear from the evidence that

22   BestMed wasn't concerned about its loyalty to Medisim.

23   BestMed's loyalties were for sale to whoever made BestMed the

24   most money.

25             You'll also hear that way back in 2003, even before


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1    there was a signed agreement, Mr. Cohen asked K-Jump to produce

2    a thermometer like the FHT-1 thermometer for BestMed way back

3    in 2003.

4               Jumping ahead a few years, as I mentioned earlier,

5    production started in 2005, and even soon after the production

6    started rolling into BestMed, BestMed was already planning to

7    replace Medisim with K-Jump as its supplier of the thermometer.

8               In August and September of 2005, BestMed sent K-Jump

9    samples of the FHT-1 thermometer.       In November of 2005, BestMed

10   again talked to K-Jump about supplying a thermometer to replace

11   the FHT-1.    And at that time you will hear, and the evidence

12   will show, that K-Jump already had a working sample of a

13   replacement thermometer for the FHT-1.        And at that time you

14   will also hear that Mr. Cohen told Mr. Daniel, the president of

15   K-Jump that he, Mr. Cohen, was interested in purchasing that

16   thermometer from K-Jump when the agreement between BestMed and

17   Medisim expired.    So even before the ink is try dry on the

18   agreement, Mr. Cohen is talking to K-Jump about being a

19   replacement supplier.

20              So to assist K-Jump in its efforts, BestMed also

21   supplied K-Jump with design information and technical

22   information about the FHT-1 thermometer that it had received

23   from Medisim, including information about putting the

24   thermometer in a test mode, and testing protocols, and it even

25   included the instruction manual for the FHT-1 thermometer.


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1              So while BestMed is conspiring with K-Jump behind

2    Medisim's back, Mr. Yarden is in the process of inventing and

3    creating a new temperature measurement technology, which is the

4    subject of the patent at issue in this case, and that

5    ultimately is the technology that becomes the '668 patent.          And

6    I'll get into that in a little bit and provide more detail.

7              And ultimately, as you'll hear       Mr. Yarden applies for

8    a patent about this invention, and he does inform Mr. Cohen,

9    the president, I'm sorry, the CEO of BestMed about the

10   invention and about the patent application.

11             And this new technology was embodied, as the evidence

12   will show, in a successor product to the FHT-1 thermometer, a

13   device called the FHT-1A.      Now your eyes aren't playing tricks

14   on you, because you'll see, and the evidence will show that

15   looking at the FHT-1 and the FHT-1A. side by side, it would be

16   incredibly hard to tell the difference.        The difference is

17   inside.   The difference is the technology that runs the

18   thermometer.    It's like an upgrade of the software to your cell

19   phone; the housing remains the same, but the way it functions

20   is different.    So you'll see and you'll hear, that despite the

21   fact that they look almost identical, it's the secret sauce

22   inside that makes them different.

23             You'll also hear that even with BestMed's help, it

24   took K-Jump awhile to create its own replacement temple touch

25   thermometer, which ultimately became known as the KD-2201


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1    model.    And part of the reason for the delay in K-Jump getting

2    its production up and running, was that it had to complete the

3    creation of a production model and also had to test the

4    product.    And you'll also hear that BestMed was very very

5    particular about how this replacement product should look and

6    how this replacement product should operate.         BestMed

7    specifically told K-Jump that it wanted this new model, the

8    KD2201, to look and function just like the FHT-1; copy the

9    exterior design, copy the color scheme, copy the startup beep

10   sequence, copy the error codes, copy the instruction manual,

11   copy the packaging, copy everything.       And K-Jump was happy to

12   comply.    And you'll see the results of K-Jump's efforts in

13   evidence at trial.

14              What you're seeing on the screen now is the KD-2201.

15   Also part of the reason for the delay in K-Jump getting its

16   manufacturing up and going was it even, after it created a

17   production model, and even after it tested it, K-Jump had to

18   get approval from the Food and Drug Administration, the FDA.

19   Because you'll hear that you can't just import a medical device

20   in the U.S. and sell it.      The FDA is there to try to protect

21   consumers from medical devices that are unsafe, and they have a

22   process that you have to go through in order to get approval to

23   sell them.    And you'll hear a shorthand for that, which is

24   called the 510K process.      The 510K process is a process which

25   just, in general, requires the manufacturer to submit detailed


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1    technical report describing the product and how it works.           And

2    the FDA can request further information, and ultimately at the

3    end of this process the FDA blesses the product and allows it

4    to be sold in the U.S.     So all medical devices require the 510K

5    approval from the FDA in order to be sold in the U.S., again in

6    order to ensure that unsafe medical devices are not hurting

7    consumers.

8              But there was a problem, you know.       K-Jump had

9    submitted its paperwork to the FDA, but it was taking an

10   unusually long period of time.      And BestMed couldn't sell the

11   K-Jump product until the 510 approval was completed.          But they

12   were running out of time because the agreement between BestMed

13   and Medisim was due to expire in May 2007.        And BestMed       need

14   an uninterrupted supply of these thermometers to keep its

15   customers happy.

16             So even after the agreement expired in May 2007,

17   BestMed kept ordering these thermometers, the FHT-1, and

18   ultimately the FHT-1A, and Medisim continued to supply them.

19   But there was no followup agreement in place.         Nevertheless,

20   BestMed led Medisim to believe that it was going to renew the

21   contract and that it was a mere formality.        BestMed wanted

22   Medisim to believe that it was a reliable business partner,

23   when the evidence will show they were just waiting for the

24   chance to kick BestMed, I'm sorry, to kick Medisim out and

25   replace Medisim with K-Jump.      But even with BestMed stalling


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1    Medisim, telling them that an agreement would be signed and

2    then not following through, K-Jump still couldn't get its act

3    together quickly enough.

4               In June of 2007, K-Jump did receive FDA approval to

5    sell its replacement thermometer in the U.S.         But even with

6    that approval, it couldn't ramp up production quickly enough to

7    satisfy BestMed's needs.      So you'll hear that many many months

8    after the original agreement lapsed in May 2007, BestMed did

9    sign another distribution agreement with Medisim, but only

10   after Medisim exerted some pressure on BestMed to do that.           It

11   was for a shorter period of time, and this agreement expired,

12   as you will hear, in May of 2009.       And under the second

13   agreement, Medisim was selling to BestMed not only FHT-1, but

14   the FHT-1A model as well.

15              It isn't until early 2008, that Medisim learns for the

16   first time about Medisim's disloyalty.        After stalling for so

17   many months about renewing the contract, Mr. Cohen finally

18   admits to Mr. Yarden, we intend to replace you with K-Jump.

19   We're going to move the production of this thermometer from

20   Medisim to K-Jump.     It was only then, early 2008, that Medisim

21   finally appreciated that BestMed was not a reliable business

22   partner.    Nevertheless, Medisim didn't have a lot of options.

23   It was a small company, it had to -- to sell its product in the

24   U.S. and it held its nose and followed through on the second

25   agreement because that was the most effective and efficient way


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1    to do it from a business perspective.

2              So despite all the shenanigans that went on Medisim

3    continued to supply and met the terms of the second

4    distribution agreement.

5              But you will also hear that immediately after the

6    second distribution agreement ended in May 2009, BestMed

7    dropped Medisim like a hot potato and started selling the

8    K-Jump replacement thermometer.

9              As you'll see, it looks almost identical to the

10   best -- to the Medisim model.      You will see that it had an

11   instruction manual that is, again, almost identical.          And

12   you'll be able to compare and contrast, yourselves, the two

13   instruction manuals for the FHT-1 and for the K-Jump product,

14   the KD-2201.

15             Medisim has a copyright registration on the

16   instruction manual for the FHT-1, meaning that it applied to

17   the U.S. copyright office and received copyright protection for

18   that document.    And you'll see that in evidence in this case.

19             So BestMed begins selling the KD-2201, the replacement

20   thermometer, under the FDA approval that K-Jump received in

21   June of 2007.

22             In the meantime, Mr. Yarden is still innovating and

23   he's applying for the patent as we indicated, the '668 patent.

24   And you'll hear that in October of 2009, the patent office

25   issued the patent at issue, that's at issue in this case, the


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1    '668 patent.

2              And the evidence will show, ladies and gentlemen, that

3    the KD-2201 model, the K-Jump device, infringes the claims of

4    the '668 patent.    But BestMed continued to make sales of these

5    infringing thermometers after the issuance of the '668 patent,

6    and continues to do so to the present day.

7              So to understand the novelty of the '668 patent, you

8    will also hear some technical testimony about older thermometer

9    technologies, principles of thermometry, and the progression of

10   technology that led to the '668 patent.

11             The evidence will show as following, ladies and

12   gentlemen.   And it should come as no surprise to you that, you

13   know, getting a reliable body temperature is important to

14   diagnosing and treating disease.       It also should come as no

15   surprise that core body temperature is widely considered to be

16   the most reliable body temperature.       And core body temperature

17   is a very precise type of temperature.        It's the temperature of

18   blood in the pulmonary artery.      And the pulmonary artery is the

19   artery between the heart and the lungs.

20             But you can imagine that taking core body temperature

21   directly is not something you would want to do every day.

22   Because in order to do it and measure it directly, you would

23   have to pierce the skin.      And you would have to actually place

24   a temperature sensor in the blood of the pulmonary artery.

25   Again, as you can imagine, not something that people want to do


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1    under most circumstances.

2              So I can also imagine the history of thermometry, in

3    part, has been devoted to measuring temperature to approximate

4    the core body temperature in a reasonable and reliable way, in

5    a manner that doesn't require you to actually pierce the body

6    and measure it, the blood in the pulmonary artery.          So, for

7    example, using an analogy, you have a pot roast and you want to

8    tell what the temperature of the pot roast is.         A reliable way

9    to do that is to take a meat thermometer and stick it in the

10   pot roast.   It'll probe to the center of the pot roast and

11   you'll get a pretty accurate temperature.        Again, not a perfect

12   analogy, but that would be something similar to measuring core

13   body temperature in a human being.       It would be invasive, there

14   might be complications, and something to generally avoid.

15             So again, you know from your own personal experience

16   when you were a child, or when you were a parent or both, about

17   taking temperatures, especially with children.         You know from

18   your own personal knowledge that historically measuring

19   temperature at certain parts of the body has been proven

20   reasonably reliable, and doctors and clinicians have relied

21   upon those measurements.

22             So, for example, it's probably clear that taking a

23   rectal temperature, especially with a Mercury thermometer, is

24   something that some of you remember when you were younger.

25   And, you know, one of the issues though, of course, is that you


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1    have to put the thermometer inside a body cavity, and you have

2    to wait a long time, as you know, in order to get a reliable

3    temperature.

4               Oral temperature, taking your temperature by putting a

5    thermometer under your tongue, you know, goes back decades and

6    decades.    Again, that has been perceived to be a reliable

7    approximation of core body temperature in the field.

8               Likewise the axilla, which is a fancy medical term for

9    the under arm, your armpit, that has also been historically

10   used as a means of getting a reasonable approximation of core

11   body temperature.    And one of the reasons that these parts of

12   the body have proven reliable is because they are in a

13   protected area.    The rectum, the mouth, the armpit, are

14   protected cavities in the body that are not subject to external

15   environmental influences like some of the other points on the

16   body where you would measure temperature.        And, again, as I

17   mentioned, the evidence will show that, especially taking oral

18   temperature in the mouth is a reliable means of approximating

19   this core body temperature that we've spoken about.

20              But, again, it's invasive.     You need to put the

21   thermometer in the mouth, in the rectum, under the armpit, and

22   you have to wait a period of time.       And especially if you have

23   a young child, you may have to hold the child down in order to

24   get a reasonable and reliable temperature.

25              And using a Mercury thermometer has its own risks,


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1    because Mercury is a toxic substance.        And if a thermometer

2    breaks or if the child bites the glass thermometer, then you

3    have a whole other medical emergency.        It's inconvenient for

4    children, especially if they're sleeping.

5              So as a result of these drawbacks or these downsides

6    thermometer technology moved into the predictive area.          How can

7    we get a reasonable approximation of core body temperature

8    quickly and noninvasively thermometer in a body cavity.

9              So what you'll see, ladies and gentlemen is that there

10   is, again, the traditional invasive methods of thermometry, as

11   we indicated.    It takes time; one minute, two minute, three

12   minutes, and you're waiting and you're waiting, and four

13   minutes, and five minutes, and finally round about six minutes,

14   if you're patient enough, you'll hit the equilibrium or the

15   steady stay temperature.      The Mercury won't go up any further

16   in the thermometer.     You'll hit the equilibrium point.       And,

17   again, with the interest in predictive technology, thought was

18   given to other sites in the body other than the mouth, other

19   than the rectum, other than the armpit, where a reliable

20   temperature could be taken to a reasonably approximate core

21   body temperature.

22             And more recently it's been the forehead, the temple

23   and the ear.    And I'm sure you ever some familiarity with

24   products that measure temperature by taking those measurements

25   at those sites.    There are differing types of technology that I


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1    need to briefly go over with you, because you'll hear them in

2    the course of the trial.

3              Infrared technology.     You'll hear that infrared

4    technology requires, as do other technologies, a sensor.            But

5    for infrared the sensor does not contact the skin.          What it

6    does is like a camera, it takes a snapshot of the skin and it

7    senses the infrared radiation or heat that's leaving the skin.

8    So if you see the graphic, you see the camera taking a

9    snapshot, and then you see the heat, which are the red lines

10   flowing upward to the sensor in a rough approximation of how

11   infrared technology works.

12             Critically, infrared technology does not measure the

13   temperature of -- the temperature beneath the skin surface,

14   just the heat that flows up from the skin surface out into the

15   environment.    Now, it usually takes about 30 seconds or a

16   minute in order to get a reliable reading.

17             And you've undoubtedly seen thermometers that use this

18   technology, the forehead scan.      You scan it over your forehead

19   and you get a reading.     You've probably seen a thermometer that

20   you place in your ear, place it in your ear and the infrared

21   measurement comes from the tympanic membrane in the ear drum

22   and you get a reading here.      So these products would use

23   infrared technology in order to measure temperature.

24             But, again, there are downsides to infrared as well.

25   It can be uncomfortable in the ear canal, could be difficult to


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1    use on a sleeping patient especially a child.         It requires some

2    technical skill to use it accurately.        The electronics can be a

3    little complicated.     And in the scheme of things, they're

4    relatively more expensive than other types of thermometers.

5              Infrared temperature measurement technology is

6    completely different from conduction temperature measurement

7    technology.    Conduction requires the sensor, the temperature

8    sensor to contact the skin.      And what it does is not sense the

9    heat leaving the skin, but it continuously measures the

10   temperature generated at the skin under the surface of the

11   skin, the heat under the surface of the skin.

12             So you see from the diagram the distinction between

13   those two forms of temperature measurement technology.

14             You'll further hear a little bit more information at

15   trial about two different types of conduction, measurement

16   technology.    And one of them is called prediction, the

17   prediction method.     This is an older technology.      It's been

18   around awhile, and it's a time-based technology.         Again, over

19   simplifying just for the sake of giving you an overview, what

20   you do is you have one sensor and you take repeated short

21   measurements over short periods of time, and by plotting those

22   first few direct measurements, you are able to predict what the

23   equilibrium or the steady state temperature will be and, you're

24   able to do it in six seconds, and not six minutes.

25             You'll also hear about a form of conduction


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1    technology called the heat flux method.        And as opposed to the

2    prediction method being a time-based method, the heat flux

3    method is a distance-based method.       And, again, you will hear

4    more detail about this than I'm going to give you now, but in

5    general, heat flux is the amount of heat per unit area.             And if

6    you know the distance between two sensors on the screen T1 and

7    T2, and that distance is fixed and it doesn't change, you can

8    measure temperature through the heat flux method.

9              So, ladies and gentlemen, the evidence will show that

10   the FHT-1 model, the earlier model of thermometer that Medisim

11   sold to BestMed, measures temperature through the heat flux

12   method.   But while the FHT-1 model was reasonably accurate, it

13   became clear over time that it had some accuracy problems,

14   especially in extreme environments, in extreme cold and in

15   extreme heat.    And the evidence will show that the problems

16   with the FHT-1 were part of a larger confusion in the field of

17   thermometry.    Because there had been a misconception that

18   measuring temperature, other than in the traditional areas, the

19   oral, rectal and axillary, the under arm, would yield roughly

20   the same result; so that if you measure temperature in a place

21   other than those three that are done traditionally, you would

22   expect to receive about the same result as if you put it in the

23   rectum, in the mouth or under the armpit.        And that was

24   understandable, because oral temperature was widely understood

25   to be a reliable approximation of core body temperature.            But


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1    in reality some body parts are better for achieving a

2    reasonable approximation of the core body temperature than

3    others.

4              The temple is a good place, but not as good as oral,

5    but it's better than the bottom of your foot.         And Mr. Yarden's

6    flash of inspiration was that in other patents and in other

7    scientific publications what you've heard is called the prior

8    art, there had been this belief that if you're taking a direct

9    measurement from the skin, what you are measuring is the core

10   body temperature.    But in fact it wasn't.      It was something

11   completely different.     And Mr. Yarden realized that it's not

12   core body temperature which is the temperature of the pulmonary

13   artery.   It's something called local or deep tissue

14   temperature, which is the temperature under the skin.          That's

15   what you're directly measuring when you are applying the

16   thermometer to the temple and taking the temperature

17   measurement.    So Mr. Yarden grasped this misperception, and he

18   further grasped there was a reliable correlation between the

19   deep tissue or local temperature and core body temperature, so

20   that if you can measure the local or the deep tissue

21   temperature and apply a mathematical algorithm to it to

22   correct, you can reach a reasonable approximation of the core

23   body temperature.    And that was what was wrong with the FHT-1

24   model, because it was a temple touch thermometer.         As you know,

25   you touch it to your temple.      But because the temperature was


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1    taken on the exterior surface of the skin, it was subject to

2    environmental factors which skewed the reading at higher and

3    lower temperatures.     So if you were in a hot environment, in

4    the direct sunlight, you wouldn't necessarily get a reliable or

5    as reliable a reading.     Because unlike the mouth, which is a

6    closed -- again, a closed environment, which is protected from

7    environmental factors largely, the exterior of the skin is not.

8    So, this led Mr. Yarden to apply for and receive the patent at

9    issue in this case, the '668 patent.

10              And you'll hear a lot about the '668 patent.        And

11   there are a number of claim limitations in it.         But some of the

12   more important ones are that it requires calculation of a local

13   temperature of the body using a function, including the time

14   dependent parameters, and to calculate a core body temperature

15   by correcting for a difference between the core body

16   temperature and the local temperature.

17              So, in essence, ladies and gentlemen, it's a two-step

18   process.    You directly measure the local or deep tissue

19   temperature and you apply a mathematical algorithm to achieve

20   the core body temperature.      In essence, that's what this

21   convention stands for.

22              The evidence will show, ladies and gentlemen that the

23   FHT-1, the predecessor device that Medisim sold, had two

24   temperature sensors.     And you'll also hear that the '668 patent

25   requires one or more temperature sensors.


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1               You'll also hear that the FHT-1, as you heard earlier

2    in my opening, measures temperature only through the heat flux

3    method.    But you'll learn that the '668 patent permits

4    temperature measurement through the heat flux method or through

5    prediction.    And we talked about prediction a little earlier.

6    But critically what you'll hear is that the FHT-1 thermometer

7    is a one step process, it is not a two step calculation

8    process.    For the FHT-1, you take the measurement and you

9    directly calculate approximation of core body temperature;

10   whereas, as we've indicated, and as the evidence will show, the

11   '668 patent requires the two step process.        You directly

12   measure local or deep tissue temperature, and you correct in

13   order to receive the core body temperature.

14              You'll hear a great deal more about the '668 patent,

15   the claims, the specification in trial, and this is just

16   designed to give you an overview of some of the important

17   aspects of it.

18              You'll hear, and Medisim alleges, that BestMed and its

19   KD-2201 device that it's selling for K-Jump infringes a number

20   of claims of the '668 patent.

21              And as the Judge told you, there are some claims that

22   are called apparatus or device claims, meaning how a specific

23   thermometer works and how it measures temperature.          And you'll

24   hear, the evidence will show that the KD-2201 model, the K-Jump

25   model that's manufactured and sold by BestMed, had only one


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1    temperature sensor, not two, not three, just one.         But, again,

2    as you will also hear, and as the evidence will show, the '668

3    patent doesn't require two or more sensors.        One sensor is just

4    fine.   One or more sensors meets the claim limitations of the

5    '668 patent.

6              You will also hear, and the evidence will show, that

7    the KD-2201 model doesn't use heat flux, it uses the prediction

8    measurement technology that we talked about briefly earlier.

9    And, again, as you heard a few minutes ago, the '668 patent

10   permits that the measurement can be done through heat flux or

11   through prediction.     Either one is fine.

12             And, critically, you will also hear, and the evidence

13   will show, that the KD-2201 model does in fact practice the two

14   step calculation process.      It does take a direct calculation of

15   the local or deep tissue temperature and it does apply a

16   correction in order to achieve approximation of core body

17   temperature.    Again, ladies and gentlemen, this is a summary,

18   and you'll hear much more evidence about this, but these are

19   some of the things to pay particular attention to when you are

20   hearing the testimony and looking at the documents.

21             In addition to the device claims or the apparatus

22   claims, there are some things that are called method claims.

23   And Medisim contends that BestMed infringed some of the method

24   claims of the patent which are not how a specific thermometer

25   works, but a process of taking a temperature, and you'll hear


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1    much more information about that later on.

2               You saw the KD-2201, but that's not the only

3    thermometer device at issue in this case.        You'll see that

4    there are other infringing devices, and you'll hear evidence to

5    that effect.    The one on the left, which has a Rite Aid brand

6    on it, is another K-Jump model, the KD-2210.         The one on the

7    right, the CVS branded model is another K-Jump model, the

8    KD-2220.    The allegation in this case is that all three, the

9    2201, the 2210, and the 2220 are accused or infringing devices

10   of the '668 patent.

11              And as the Judge told you, you know, patent

12   infringement requires you to look at the claims of the patent,

13   and to do a claim-by-claim analysis.       It's not an all or

14   nothing proposition.     You can find one or more claims are

15   infringed, and one or more claims that are not infringed.           But

16   if the infringed, if the accused product or the accused process

17   meets all of the requirements of one of the claims of the

18   patent, then there is infringement.

19              Medisim's burden is to prove infringement by the

20   preponderance of the evidence.      And you heard that the

21   preponderance of the evidence is often described as more likely

22   true than not.    And again as the Judge told you, it's not

23   beyond a reasonable doubt like you hear on Law and Order or in

24   a criminal case.

25              To assist you in understanding the issues related to


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1    patent infringement, you'll hear not only from Mr. Yarden, the

2    inventor of the '668 patent, but you'll hear from Dr. David

3    Lipson.    Dr. Lipson is a distinguished Professor at Cornell

4    University.    He is experienced in the field of thermometry, and

5    he will be Medisim's expert on technical issues in this case.

6               You heard earlier in my opening about the instruction

7    manual.    And that forms another, the basis for another legal

8    claim of Medisim's in this case.       Because as I mentioned,

9    Medisim has a copyright registration with the instruction

10   manual for the FHT-1 thermometer.       And the evidence will show

11   that the K-Jump instruction manual is almost an exact copy of

12   the instruction manual for the FHT-1.

13              And, again, you'll be able to compare the two

14   instruction manuals yourself during trial and see for yourself.

15   Medisim also believes that it has been unjustly enriched -- I'm

16   sorry -- that BestMed has been unjustly enriched because

17   BestMed received revenue from the sale of these three products,

18   the KD-2201 the KD-2210 and the KD-2220, at the expense of the

19   Medisim product, and more recent Medisim thermometer models,

20   and that requires BestMed to make restitution of its profits to

21   Medisim.    So that's underlying the unjust enrichment claim in

22   the case.

23              (Continued on next page)

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1              MR. CHRISTIE:    Finally, as you've heard, Medisim

2    claims that BestMed committed unfair competition under New York

3    Law and this legal claim is based upon the high degree of

4    similarity between the exterior design of the Medisim product

5    and the K-Jump replacement product.       The fact that these are

6    competitive products and the fact that Medisim was acting --

7    I'm sorry, that BestMed was acting in bad faith.

8              This is some of the evidence that you will see in

9    support of the unfair competition claim in this case and I just

10   want to make it clear that you will not hear testimony that

11   these two products were sold side by side at a store at the

12   same time.   But, you will hear that the product on the left is

13   the Medisim product and that was sold first in time, and you

14   will hear that the product on the right, the K-Jump product,

15   was sold afterward in the same stores and in this case in Rite

16   Aid.

17             The same with this comparison, ladies and gentlemen;

18   no claim that these two products were sold side by side on the

19   same store shelves but that the Medisim product on the left was

20   sold first and the K-Jump/BestMed product on the right was sold

21   afterward at CVS.

22             So, in addition to hearing from Dr. Lipson on the

23   technical issues you also will hear from Andrew Carter.

24   Mr. Carter is Medisim's damages expert.        He will tell you about

25   his financial analysis of the harm that was caused to Medisim


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1    by BestMed from the infringement of the '668 patent and the

2    other legal claims and provide guidance as to what damages

3    figure should be awarded to Medisim at the end of the day.

4              You will also hear, as the Judge indicated, that

5    BestMed will be claiming that the '668 patent is invalid for

6    one or more reasons.     However, Medisim is confident that at the

7    end of the evidence in this case, after you've heard and seen

8    all of the evidence, that that claim will not hold any water

9    and largely because Bestmed has a higher burden of proof.

10             You heard the Judge tell you and it is a matter of law

11   that patents are presumed to be valid and because patents are

12   presumed to be valid, BestMed has a higher burden to clear and

13   convincing standard to show you invalidity which is more

14   demanding than Medisim's burden of preponderance of the

15   evidence to show infringement.

16             So, despite their best efforts, BestMed will not be

17   able to demonstrate the evidence will show the invalidity of

18   any claims of the '668 patent.

19             Ladies and gentlemen, I will have an opportunity to

20   address you again after all the evidence has been admitted in

21   this case in my closing argument or summation.         At that point

22   in time I will demonstrate to you that the evidence has in fact

23   shown by the preponderance of the evidence that BestMed has

24   infringed the '668 patent, committed unfair business

25   competition, has been unjustly enriched, and has infringed


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1    Medisim's copyright.     Furthermore, the evidence will show that

2    BestMed has not even come close to reaching its burden of

3    showing invalidity of any claim of the '668 patent by clear and

4    convincing evidence.

5              Thank you for your attention.

6              THE COURT:    Thank you, Mr. Christie.

7              Ladies and gentlemen, I'm anxious to get the other

8    opening statement in today so I would like to go right to it.

9    If you just want to stand up and stretch for a minute we can

10   all have a standing moment but then I would like to call on

11   Mr. Cepuritis to give his opening statement.

12             Do you want the podium to remain where it is?

13             MR. CEPURITIS:    Yes, your Honor.     And if I may, during

14   my presentation, use the ELMO?

15             THE COURT:    Sure.   That will be fine.

16             All right, Mr. Cepuritis.

17             MR. CEPURITIS:    Thank you, Judge.

18             Good afternoon.     I'm Tali Cepuritis, I represent

19   BestMed, and with us today is the president of BestMed, Michael

20   Edmonds -- Mike, would you please stand?        And Stan Cohen, the

21   CEO of BestMed.

22             This case is about a business opportunity that has

23   been squandered by Medisim.      Medisim dropped the ball and now

24   they cry foul.    This case is also about Medisim trying to take

25   away the market that BestMed developed through its own efforts.


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1              BestMed is a Colorado company founded in 2002 as a

2    successor to a company called K-Jump U.S.A. that was founded in

3    1999.   Mr. Edmonds was the president of K-Jump U.S.A. and

4    continued, through now, as president of BestMed.         Mr. Edmonds

5    has a long many years of experience in selling medical

6    instruments and it was Mr. Edmonds' efforts and expertise that

7    created this market.

8              BestMed distributes medical instruments throughout the

9    United States to drug store chains who then market these

10   instruments under their own labels to the customers of BestMed,

11   the typical ones you see on the slide there, and I'm sure you

12   all recognize these companies.

13             BestMed has an extensive product line, primarily

14   thermometers, but also nebulizers, blood pressure monitors and

15   similar devices.    You will notice that BestMed has its own

16   color code, the blue and white, unless one of BestMed's

17   customers insists that they want to use their own in-house

18   colors.   But BestMed's own color scheme is the blue and white

19   scheme.

20             BestMed is a highly respected distributor and it

21   enjoys its reputation and protects it diligently.         BestMed's

22   reputation is based on contacts and track record or

23   performance.    These are very important in this business.

24             Now, the principal issues in this case are, as you

25   heard, unfair competition and unjust enrichment on the one hand


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1    and patent infringement on the other.        I will address these two

2    in turn.

3               Medisim complains that BestMed is competing unfairly

4    in the State of New York while selling a templar thermometer.

5    Well, competition is a good thing.       Competition keeps the

6    prices down for the ultimate consumer.        Competition is the

7    foundation of American economy.       There is nothing wrong with

8    competition unless the competition is not fair.

9               Ladies and gentlemen, you will not hear any evidence

10   of unfairness as to how BestMed has treated Medisim or as to

11   how BestMed has competed with Medisim.

12              Medisim, as you heard, is a small startup company that

13   had no United States market exposure.        They wanted to sell

14   products in the United States and they looked for a well-known

15   distributor that would help them do that.        They approached

16   BestMed, BestMed had discussions with them, there were several

17   products that Medisim wanted to introduce in the United States.

18   Some of the products were similar, like a stick thermometer

19   that was similar to what BestMed already had; they had the high

20   quality stick thermometer so they were not interested.

21              Medisim did elicit interest in its forehead

22   thermometer.    There were several meetings and the technology

23   sounded interesting at the time.       Medisim labeled it the

24   R-A-T-E or the R.A.T.E. technology as something revolutionary.

25   Well, it is a nice selling approach.       BestMed accepted it and


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1    decided that this was something worth a try.         Samples were sent

2    by Medisim to BestMed and there was a business opportunity, a

3    window of opportunity with Walgreen's, a long-standing customer

4    of BestMed to make a sales presentation.        Walgreen's liked the

5    product, they committed to purchase more than -- slightly more

6    than 10,000 units of this product.       BestMed reported back to

7    Medisim, Medisim was excited and BestMed was happy.

8              Now, BestMed kept asking Medisim:       Are you sure you

9    can deliver?    Yes, they said; we can deliver.       Well, it didn't

10   quite turn out that way.

11             Now Medisim points that it is BestMed to blame as

12   being too hasty.    Not quite.    It was Medisim that was anxious

13   to enter into the United States market and BestMed was trying

14   to help them do so.

15             Several concerns are expressed by Mr. Cohen directed

16   to Medisim:    Are you sure you can deliver?      How is the process

17   coming?   Ultimately Medisim had to fess up and say we cannot

18   deliver, we cannot deliver on the schedule that we promised.

19   Now BestMed's reputation is at stake with one of their best

20   customers, one of their major customers.        Well, BestMed had no

21   choice but eat crow, call Walgreen's, and say we won't be able

22   to deliver.

23             Now, you saw on the screen here a Walgreen's

24   thermometer that is a BestMed thermometer.        Evidence will show,

25   ladies and gentlemen, that it took 10 years after the


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1    Walgreen's fiasco before BestMed could introduce another

2    thermometer into Walgreen's.      These buyers at major drug chains

3    have long memories.

4               MR. CHRISTIE:    Sorry, your Honor.    I am going to

5    object quickly because the Walgreen's picture was not a Medisim

6    model, it was a BestMed model.

7               MR. CEPURITIS:   I apologize.

8               THE COURT:   All right.

9               MR. CEPURITIS:   So, there is a quiet period now.

10   Several months later Medisim approaches BestMed again:          Are you

11   still interested in our forehead thermometer?         BestMed liked

12   the product in the beginning, BestMed still likes that product,

13   so they decide they're going to give it one more try but now

14   they want to formalize this somewhat.        So, there is this

15   international distributorship agreement that is entered into

16   which spells out the respective duties and obligations of the

17   parties.    Contrary to what Medisim's counsel mentioned, that

18   was not a partnership agreement.       There was never a partnership

19   between Medisim and BestMed.      You will see copies of the

20   international distributorship agreement and you will see that

21   it is a straight forward Medisim sells/BestMed buys for resale.

22   It is a distributorship agreement, it is not a partnership

23   agreement.

24              But there is another problem that arises while

25   negotiating this agreement -- Medisim needs money for tooling


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1    to make these products that they are now committed to supply.

2    Medisim asks BestMed to buy the tooling for them.         As I said,

3    BestMed still likes the product so BestMed puts up $53,500 so

4    that Medisim can buy the tooling to make the product.          On top

5    of that, BestMed is investing its time and effort to put

6    together sales presentations to develop packaging, to develop

7    graphics that go with a package.       Mr. Edmonds is an expert of

8    long standing in writing instruction manuals.         Mr. Edmonds puts

9    in his time in preparing the instruction manual that you heard

10   about supposedly -- or I will say not supposedly, we know they

11   have claimed the copyright on that manual but you will, ladies

12   and gentlemen, you will be asked to decide who the author is of

13   that copyrighted material.      I submit that the evidence will

14   show that it is Mr. Edmonds, not anyone at Medisim.

15             Now, the international distributorship agreement is in

16   effect.   Finally products are arriving but we already are

17   experiencing delivery problems.       You would think that the

18   parties would have learned:      Partial shipments, mismarked

19   cartons, delayed shipments, incomplete packages, quality

20   problems.   Mr. Cohen has to field customer complaints.         There

21   are returns of faulty merchandise.       BestMed is trying to do

22   whatever they can to keep this deal going because the product

23   is good if it's manufactured right.       And there is a market for

24   it.   BestMed is doing its darnedest to make this deal work but

25   is frustrated by what is happening across the ocean.


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1              So, BestMed is concerned, as I mentioned to you

2    before, and reputation is extremely important in these

3    situations.    BestMed continues to be concerned about its

4    reputation so they're looking for a backup.        Yes, they have had

5    a long-standing relationship with K-Jump as a thermometer

6    manufacturer who BestMed knows is turning out high quality

7    product; they're also very innovative, they hold their own

8    patents, they've been around for a long time.         So, BestMed

9    inquires whether there is a possibility that K-Jump could come

10   to assistance.    Well, K-Jump is interested but the agreement is

11   what it is and BestMed is trying to and does live up to its

12   commitments on the international distributorship agreement.

13   The agreement expires, K-Jump is not yet ready with a

14   thermometer that BestMed could market, so BestMed continues to

15   buy Medisim's product on a purchase order basis, in other words

16   I place an order, you ship with no commitments as to future.

17   Well, this goes on for a while.

18             So, some time goes on, there is disagreement with the

19   international distributorship agreement that was renewed.           The

20   parties intend to renew it and Medisim and BestMed say, look,

21   we're all businessmen.     Let's let bygones be bygones, let's

22   enter into the new agreement, clarify the situation and if

23   something did go wrong in the past actually the purchase and

24   sale agreement has a special provision where in simple terms

25   the past is forgiven.     There is a special paragraph 12 in that


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1    agreement.

2               Well, this purchase and sale agreement is interesting.

3    If I could have the slide?      As we are looking for the slide I

4    will start telling you about it; it has a provision where both

5    parties agree that each can sell competitive product.          Now,

6    this agreement was entered into, paragraph 9, from May 1, 2008

7    onward.    Each party may, directly and through its distributors,

8    promote and sell products that compete with the product to

9    current customers.     And there is a proviso that you can't

10   deliver until after May 1, 2009, this is when this agreement

11   expires.    And the paragraph 10:     From and after the execution

12   of this agreement by both parties, both parties, directly and

13   through their agents and distributors, may freely offer and

14   sell products that compete with the product to customers that

15   are not current customers.

16              It was during this period when BestMed started

17   receiving K-Jump's thermometer that worked differently and

18   started selling that as well; all this with Medisim's

19   permission.

20              During that time period and thereafter the market was

21   available to both.     The difference was that Medisim no longer

22   had the benefit of BestMed's marketing expertise and customer

23   contacts and BestMed's reputation.

24              Now I would like to talk a little bit about the patent

25   aspects of this case.


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1              Medisim's infringement charge is directed to BestMed's

2    thermometer, the same thermometer that it has been selling

3    during the purchase and sale agreement since 2008.          Selling it

4    with Medisim's permission.

5              BestMed's expert, Mr. Goldberg, will explain to you

6    the differences in technology that are involved in these two

7    thermometers; Medisim's purportedly new thermometer and the

8    thermometer that BestMed has been selling since 2008.

9              Mr. Goldberg has a lot of experience in the digital

10   thermometry art.    He will tell you about his qualifications.

11   He is even an inventor, he invented one of the commercially

12   successful ear thermometers.      So, he is well qualified, he

13   understands the technology and will explain in great detail to

14   you how each of these thermometers work and what the

15   differences are.    He will explain to you that the BestMed

16   thermometer does not calculate that the temperature of blood in

17   the pulmonary artery as it is called for in the patent.             By the

18   way, I take exception to counsel's characterization that the

19   human body is equivalent to a pot roast.        I think that is going

20   a little bit far.    But, be that as it may.

21             Mr. Goldberg will explain to you how the patented

22   thermometer does its calculation of what they call the core

23   body temperature.    Now, Judge Scheindlin has addressed this

24   issue -- this is a proceeding that precedes the trial -- where

25   she interpreted what does the term core body temperature mean.


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1    According to Judge Scheindlin's ruling it means the temperature

2    of blood in the pulmonary artery.

3              So, it is clear that the '668 patent has to calculate

4    the temperature of blood in the pulmonary artery.         The evidence

5    will show, also, that the '668 patent never should have been

6    granted by the patent office.

7              You heard about the FHT thermometer that BestMed was

8    selling under its own designation DTT.        That, by the way, was

9    BestMed's designation for the DTT but the inside is the same as

10   the FHT-1.

11             Now, Medisim applied for its patent, the '668 patent,

12   on May 31, 2006 but Medisim never told the patent office that

13   the FHT-1 thermometer that BestMed has been selling on behalf

14   of Medisim since early 2005 was prior art.        What I'm talking

15   about is the FHT thermometer -- and I will put it on the ELMO

16   here -- this, ladies and gentlemen, was prior art that the

17   patent office was not told about.       Yet, the patent, the '668

18   patent itself shows a picture that is strikingly similar.           Now,

19   it would seem that Medisim should have realized that perhaps

20   the patent examiner should have been told about this one.           The

21   evidence will show that they did not.

22             Now, you saw the video and the sort of overview as to

23   what is required for a valid patent.       It is clearly the patent

24   cannot take back from the public domain something that is

25   already there.    That's the prior art.      If it is the prior art


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1    the patent claims may not cover that.        Well, we submit that in

2    this case the claims, as Medisim is interpreting them, fully

3    cover this thermometer as well.

4               The patent law also requires, as you heard, that the

5    specification should provide some contribution that's new to

6    the technology, enhance the field, enhance the information in

7    the field.

8               Now, we saw slides that counsel projected on the

9    screen and when you look at those slides and consider them

10   carefully what did we hear?      We heard that prediction is all in

11   the art.    This prior art device also uses heat flux technology,

12   the R.A.T.E. technology for operation, so what is the

13   difference between this prior art and the purported new

14   invention?    Well, you saw it on the slides, it is the

15   correction.

16              Ladies and gentlemen, Medisim has progressed

17   considerably over the last 20, 30 years and people in the

18   medical profession at least realize that there is, indeed, a

19   difference between oral temperature and pulmonary artery

20   temperature and it is not a question of treating the body like

21   a pot roast.    Surgeons are extremely interested what the

22   pulmonary artery blood temperature is, especially in cardiac

23   patients.    It is very important to monitor that to the tenth of

24   a degree if not closer.

25              So, it is known, I submit, and the evidence will show,


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1    that these temperature differences between pulmonary blood

2    artery temperature -- it is a tongue twister -- and oral

3    temperature, rectal temperature, actual temperature is known.

4    So, what is the correction?      Let's go to a handbook and look it

5    up.   It is very easy to program that.       Yet that is supposedly

6    the enhanced contribution to technology that is provided by the

7    '668 patent.

8              Members of the jury, the evidence in this case will

9    establish that Medisim failed to take advantage of the

10   marketing opportunities that BestMed developed for them using

11   its own marketing efforts, knowledge, expertise.         In short,

12   Medisim utilized BestMed's blood, sweat and tears to get

13   foothold in a marketplace but due to their own deficiencies or

14   inabilities they couldn't and didn't take advantage of it.

15   BestMed could do hand-holding for only so long.         They wanted to

16   stay in this business and they had no choice but to look for a

17   more reliable supplier.     The evidence will also show that

18   BestMed's temporal thermometer is based on technology that

19   Medisim knew was different from Medisim's technology.

20   Nevertheless, here we are.      Despite this knowledge we have this

21   lawsuit today.

22             This is a straight forward case, ladies and gentlemen.

23   The evidence will show that BestMed has not competed unfairly

24   with Medisim and has not been unjustly enriched.         They earned

25   what they made.    The temporal thermometers sold by BestMed do


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1    not violate Medisim's patent.      Mr. Goldberg, BestMed's expert,

2    will explain that to you in great detail and, furthermore,

3    Medisim's new patent, the '668 patent, seeks to cover much,

4    much more than the technology that it contributed.

5              Thank you very much.

6              THE COURT:    Thank you, Mr. Cepuritis.

7              MR. CEPURITIS:    Thank you, your Honor.

8              THE COURT:    We do have time for our first witness and

9    we want to use all of our time because I promised you we would

10   finish a week from Friday.      So, with that, we will start with

11   our first witness.

12             MR. CHRISTIE:    Can I move the podium?

13             THE COURT:    Yes, while someone else gets the witness.

14             MR. CHRISTIE:    Yes, Judge; Mr. Yarden.

15             THE COURT:    Just don't cut the cord because if we cut

16   it the government can't afford a new one.

17             MR. CHRISTIE:    Okay, Judge.    I will be very careful

18   then.

19    MOSHE YARDEN,

20         called as a witness by the Plaintiff,

21         having been duly sworn, testified as follows:

22   DIRECT EXAMINATION

23   BY MR. CHRISTIE:

24   Q.   Mr. Yarden, where are you currently employed?

25   A.   Medisim Ltd.


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1    Q.   What is your position at that company?

2    A.   I am the CEO and the R&D manager of the company.

3    Q.   Who were the founders of Medisim LTD?

4    A.   We were three; Mr. Ilan Vadai, Dr. Sorin Teich and myself;

5    I-L-A-N   V-A-D-A-I and the other one is Sorin, S-O-R-I-N, and

6    his last name is Teich, which is T-E-I-C-H.

7    Q.   I just remind you, Mr. Yarden, to keep your voice up so

8    that we can hear you please?

9    A.   Okay.

10   Q.   So, this company Medisim that you were one of the founders

11   of, how did this company get started?

12   A.   I met Dr. Sorin Teich and he told me about an infrared

13   thermometer measuring in the ear, it was a tympanic thermometer

14   done by Thermoscan and he said that it was a very interesting,

15   revolutionary thermometer in the market at that time and he

16   asked me if we could do something that will be able to compete

17   such a product.

18   Q.   What was your reaction to that suggestion?

19   A.   Well, I asked him to give me a couple of days to think

20   about it and to read some material concerning the infrared

21   technology.

22   Q.   And after you completed your efforts, what did you decide

23   to do with regard to that suggestion?

24   A.   I realized that the infrared, although it is very fast and

25   much easier to use than those days' other alternatives like the


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1    stick thermometers, the infrared suffers of several shortcomes

2    like the sensitivity to the ambient temperature and there is a

3    fuse.

4    Q.   What is the ambient temperature, Mr. Yarden?

5    A.   It is the room temperature where you use the thermometer.

6              So, at that time I said we better, if we want to have

7    a product to be able to compete then we must have it fast as

8    the infrared but I then recommend to try take the conductive

9    approach rather than the infrared.

10   Q.   So, Mr. Yarden, did you study thermometry in school?

11   A.   Well, there is no school for thermometry but in my

12   background as an aeronautical engineer I worked for the Israeli

13   Defense Industry and part of it was dealing with heat transfer.

14   Q.   How does that knowledge of heat transfer that you learned

15   as an aeronautical engineer transfer to making thermometers?

16   A.   Well, every thermometer deals with heat which is

17   transferred from the body to the sensor whatever sensor you

18   use, so this background helped me a lot in dealing with

19   thermometry, plus also the fact that you need to have a very

20   strong background in physics and math also could help you in

21   development of new technologies for thermometry measurement.

22   Q.   Mr. Yarden, you mentioned infrared technology; let me turn

23   your attention to a slide that you have prepared.         Using that

24   slide could you please explain to the jury your understanding

25   of infrared technology?


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1    A.   Well, the sensor is like a camera having one pixel, naming

2    one point to capture information, so this is basically an

3    optical sensor and it could read only what it looks.          So, if

4    the sensor is directed now to an object so the infrared heat

5    radiated from that object will flow into that sensor and that

6    sensor will get a signal which is representing what it sees.

7               Basically infrared is just light as any other light

8    but the only difference is that it is in a range where our eye

9    can see it.

10              So, this is actually a light which is representing the

11   heat emitted from an object but that wavelength of the light is

12   in the infrared range where we can't see it in our eyes however

13   the sensor can sense it.

14              So, that's basically an infrared.      So, what we can see

15   here on the slide is that the infrared sees the skin

16   temperature because that's the only thing that has a direct

17   line of sight to it.

18   Q.   Mr. Yarden, you mentioned something called conduction

19   technology, correct?

20   A.   Correct.

21   Q.   Is that a form of infrared temperature measurement

22   technology?

23   A.   No.   Conduction is different than infrared and in

24   conduction we are talking about a direct mechanical contact

25   between the sensor and the object to be measured.         Also, there


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1    is another difference that compared to the infrared that there

2    is actually no, other than the heat transfer from the object to

3    the sensor, with conduction there is an actually mutual heat

4    transfer or actually mutual effect between the sensor and the

5    body that it is measuring.      So, the way that we can see it here

6    is that the sensor is now being attached to the skin.          However,

7    since the sensor is cold and the heat in the deeper tissues

8    beneath the skin are hotter, heat will flow from the hot spot

9    or the hot area towards the cold sensor.

10             So, that's the dynamic that controls the heat transfer

11   of the conduction while with the infrared you can stay with

12   your sensor on the skin for hours, okay, there will be no

13   cross-effect between the sensor and the skin just as a camera.

14   I can take as much as I can photos of yourself without changing

15   your shape.    Right?   But if I will touch you that much maybe I

16   will spoil your look after so many times, okay?

17             So, that's the difference.

18   Q.   Okay.

19             So, in creating thermometer products through Medisim

20   what measurement technology did you begin exploring early on in

21   the formation of the company?

22             MR. CEPURITIS:    Objection, your Honor.      Assumes facts

23   not in evidence.

24             THE COURT:    What does that mean?     The evidence is

25   coming in.    He said what measurement technology did you begin


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1    exploring early on in the formation of company.         I don't see

2    what is wrong with that.

3              MR. CEPURITIS:    It hasn't been established that there

4    is Medisim technology.

5              THE COURT:    Well, ask that then.     It seems to me he

6    can certainly lay that foundation.

7              MR. CHRISTIE:    I'm sorry, Judge.     I will certainly do

8    that.

9    BY MR. CHRISTIE:

10   Q.   Mr. Yarden, what types of products does Medisim

11   manufacture, if any?

12   A.   We are manufacturing thermometers that they might be

13   invasive and non-invasive thermometers.

14   Q.   How long has Medisim been manufacturing thermometers for?

15   A.   I think that our first product was launched somewhere in

16   1999.

17   Q.   So, getting back to my original question, Mr. Yarden, when

18   the company was formed what temperature measurement technology

19   were you focusing on for your company's thermometers?

20   A.   Okay.   At that time the idea was, as I said, let's make a

21   fast -- a really fast thermometer but then utilizing conductive

22   principle rather than radiation.       But the idea was that we will

23   not try to go for other locations than the traditional like

24   oral, underarm or rectal, but just give the fastest measurement

25   as we can in those locations.      And that's what we did.      We


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1    developed an invasive but yet fast conductive thermometer that

2    was able to read somewhere like four seconds -- somewhere like

3    four to six seconds, the body temperature.

4    Q.   So, again, this was an invasive thermometer?

5    A.   Correct.

6    Q.   You would have to put it in a body cavity like the mouth,

7    rectum or underarm?

8    A.   Correct.

9    Q.   What models fall into that category of product that Medisim

10   manufactured?

11   A.   The first one was the Penguin followed by the Cello and

12   later we had a series called M5T and M3T.

13   Q.   So, Mr. Yarden, take a step backward.       Did you invent

14   conduction temperature measurement technology?

15   A.   Correct.

16   Q.   In what fashion?

17   A.   Well, Medisim actually was the first to introduce a heat

18   flux method to provide a fast conductive measurement.

19   Q.   So are you contending that you invented the whole concept

20   of the conduction or just a small part of conduction

21   technology?

22   A.   Well, conduction is a principle of heat transfer.         We never

23   claimed that we invented the principle -- a physical principle.

24   But, we did invent a method and devices that were utilizing

25   heat flux as a method for getting fast reading in invasive


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1    locations like oral, underarm and rectum.

2    Q.   Mr. Yarden, in creating your thermometer products did you

3    use prediction measurement technology at all?

4    A.   No.   We -- our home technology, if I may say, our base

5    technology was the heat flux technology.        That's what we were

6    doing.

7    Q.   Even so, are you familiar with the prediction temperature

8    measurement technology?

9    A.   Oh yeah.    I mean, prediction is very well known and common

10   in the industry.    There are dozens of patents and products

11   utilizing prediction.     Prediction is well known since I think

12   early '80s.     The only thing that was changing with prediction

13   was the measurement time like '80s or '90s thermometers would

14   predict the body temperature within something like 60, 45

15   seconds.     Nowadays there are thermometers that will predict the

16   body temperature within less than 10 seconds.         But the

17   principle is the same; something for a short period of time

18   using that information in order to get the final equilibrium

19   steady state temperature.

20   Q.   So, Mr. Yarden, referring you to this screen, please

21   explain, as these slides are progressing, your general

22   understanding of prediction temperature measurement technology.

23   A.   Okay.

24              We can see that the time is running to the right and

25   the temperature is rising in the sensor.        At some point of time


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1    there is enough information by the thermometer collected by the

2    thermometer where exactly the black line is crossing the

3    temperature rising curve, that's the point basically the

4    thermometer is able to give a reasonable or an acceptable

5    reading of the equilibrium temperature so that's the way it

6    works.

7                So, the broken line is actually not an actual measured

8    temperature, it is just trying to emphasize the fact that this

9    would have been the temperature sensed by the sensor should it

10   stay on the place long enough time.       However, this is just done

11   or accomplished by computation rather than by actual sensor.

12   Q.   So, Mr. Yarden, what were your first efforts in using

13   conduction technology for your thermometer products?

14   A.   I'm sorry.   Can you repeat that question?

15   Q.   Sure.

16               What were your first efforts in using conduction

17   temperature measurement technology in your company's

18   thermometer products?

19   A.   Well, as I said, we were dealing -- we used that technology

20   for invasive products.

21   Q.   Did you ever attempt to use that technology for a

22   non-invasive thermometer?

23   A.   Yes.    It was later on.   I mean, we started thinking of it

24   early 2002 or mid-2002, something like that.

25   Q.   I believe you also mentioned in your testimony, Mr. Yarden,


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1    about something called heat flux, is that correct?

2    A.   Correct.

3    Q.   What is heat flux again?

4    A.   Well, heat is amount of energy.      Heat flux will be amount

5    of energy that passing across a given area for a given period

6    of time so this is exactly what we see in the slide.          I mean,

7    we are having a given area through that slab through which heat

8    is flowing and if we will have it through a period of time that

9    will be the heat flux.

10              Now, heat flux could be measured by using two spots

11   away each other along the line through which the heat is

12   flowing, and actually the difference between these two spots

13   will be a good representation of the heat flux at that point.

14   Q.   So, did Medisim invent the heat flux technology?

15   A.   No.   As I said before, heat flux is, again, is a given

16   principle and it is well known in the industry; however, I

17   believe that Medisim was the first to use the heat flux method

18   in the real-time and in the fast measurement because until that

19   time they were using the heat flux as a, I would say,

20   equilibrium or steady state thermometers where you put your

21   heat flux sensor long enough on the measurement spot until the

22   heat flux become stable or zero, it depends, and by that you

23   are getting very accurate temperature of the medium that you

24   are measuring.    However, Medisim was the first to introduce the

25   heat flux as a real-time in a fast measurement thermometer; I'm


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1    talking about seconds versus minutes.        Okay?

2    Q.   So, Mr. Yarden, did Medisim obtain any patent protection

3    for its innovations in using heat flux technology in

4    thermometers?

5    A.   That's correct.

6    Q.   What did Medisim do in that regard?

7    A.   Well, as I said, we applied the patent and we got the '397

8    patent.

9    Q.   We are not talking about the '668 patent now, correct?

10   A.   Correct.

11   Q.   We are talking about the patent whose last digits are '397?

12   A.   Correct.

13   Q.   About when did you obtain the '397 patent, Mr. Yarden?

14   A.   As far as I remember it was late '90s, something like 1997.

15   Q.   So, how does the invention in the '397 patent work?

16   A.   Well, the idea was that in contradiction to the prediction

17   where you're staying at one spot seeing, observing the

18   temperature rising up and then asking what will be the

19   temperature within, say, 10 minutes, the heat flux basically is

20   you apply your heat flux sensor and you ask what's the amount

21   of heat per unit time per area that is coming into my sensor,

22   and then making this energy balance you are deriving the

23   temperature and at that time dealing with the invasive,

24   actually, we could derive the body temperature -- the core body

25   temperature.


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1    Q.   Did Medisim have a commercial name for its heat flux

2    technology used in its thermometers?

3    A.   Yes.   We call it R.A.T.E., which is Rapid Accurate

4    Temperature Establishment.

5    Q.   Mr. Yarden, I'm going to show you what is marked as

6    Plaintiff's Exhibit 11; do you recognize that document, sir?

7    A.   Yes.

8    Q.   What do you recognize it to be?

9    A.   Well, this is an executive summary describing the business

10   of the company.

11   Q.   Can you tell approximately when it was written?

12   A.   I think somewhere about early 2000s like 2001, 2002.

13   Q.   What makes you come to that conclusion, Mr. Yarden?

14   A.   For some reason I see here something which is -- okay.         Now

15   it is better.

16   Q.   Perhaps if we look down at the bottom of the first page of

17   that exhibit?

18   A.   Yes.   Can we go down?

19               Okay.    So, here it says:   By year 2002, based on

20   professional recognition -- so, as we are talking here on 2002

21   as the future, I assume that it was before 2002.

22   Q.   So does this document, Plaintiff's Exhibit 11, describe

23   Medisim's R.A.T.E. technology?

24   A.   Well, it describes Medisim business including the R.A.T.E.

25   technology as we had at that time.


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1    Q.   Does it describe the R.A.T.E. technology for invasive

2    purposes or for non-invasive purposes?

3    A.   Well, at that time the only technology that we had was

4    invasive so you could see that even we are talking about the

5    M5T in future terms which was an invasive -- our last invasive

6    model.

7    Q.   So, if we look further up that first page of that exhibit,

8    Mr. Yarden, or the center of the page, do you see a reference

9    to any particular Medisim products?

10   A.   Yes.   I see the Penguin, the Cello and the Up Grade Pro.

11   Q.   I believe you mentioned that those products used

12   temperature measured invasively, correct, in your prior

13   testimony?

14   A.   Correct.

15   Q.   Did you make commercial sales of the Penguin and Cello

16   models, Mr. Yarden?

17   A.   Yes, we did.

18   Q.   Were they commercially successful?

19   A.   I think so.

20   Q.   Even though they were successful were there any downsides

21   to the product?

22   A.   Yes.   End of the day, even if they were fast and we were

23   aiming to compete with infrared, because of the fact that they

24   were conductive they were compared to other conductive

25   thermometers that were much cheaper in price so we had


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1    difficulties in competing in the marketplace.         And then it says

2    below in this document that we were thinking of the M5T at

3    later stage that was trying to cut down the cost of the product

4    and trying to compete with the stick thermometers.          However,

5    what has happened with that is that now that we came up with

6    this conductive four to six seconds, everybody was saying that

7    we are also 10 seconds so it was very hard for us to

8    communicate that to the public, that when we say four to six

9    seconds we really mean that.      But we were a little high with

10   the price because of our cost for the chip which requires more

11   computation power than the usual.

12             That was it around that time.

13   Q.   So, in light of the downsides of the Penguin and the Cello

14   brands, did you engage in any further innovation in the

15   technology you used for your thermometers?

16   A.   Yes, we did.

17   Q.   And what did you do?

18   A.   We were thinking of utilizing the advantage that we gained

19   a lot of experience with the R.A.T.E. technology -- with the

20   heat flux principle.     We tried to utilize it in a field where

21   customers are willing to pay more -- I mean premium

22   thermometers.    And when we analyzed the market situation we saw

23   that a forehead thermometer, which is based on heat flux, could

24   be a good idea where we can utilize our know-how and

25   technology.


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1    Q.   And did you in fact pursue a forehead thermometer based

2    upon the heat flux technology?

3    A.   That's correct.

4    Q.   And what model was that?

5    A.   That was the FHT-1.

6    Q.   Showing you what's on the screen, Mr. Yarden; do you

7    recognize that picture?

8    A.   Yes.

9    Q.   What is that?

10   A.   What we see here is the FHT-1 model but it was named by our

11   distributors -- BestMed -- as the DTT.        So this was a given

12   name by them.    I would say that the last name was FHT-1 but the

13   given name was DTT, or the first name.

14   Q.   How did the FHT-1 thermometer work, generally?

15   A.   The FHT-1 model was basically utilizing the heat flux

16   technology in order to measure the core body temperature, so

17   what we did was we had a kind of reference line which represent

18   the lower end of the measurement range and we were using the

19   output of the heat flux algorithm to calculate the difference

20   between that fixed baseline to the core body temperature that

21   was represented by the oral temperature.

22   Q.   So, does the FHT-1 device practice the invention of the

23   '397 patent or not?

24   A.   Yes.   It did.

25   Q.   Well, how can it do that if it is a non-invasive


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1    measurement device as opposed to an invasive measurement

2    device?

3    A.   Well, because it has a probe that you could use it also

4    underarm and, indeed, we had a model which is working the same

5    manner as the FHT-1, we call it the FHT-2, that was measuring

6    underarm and forehead as well.      So, at that time that's what we

7    have.

8    Q.   So, did you make commercial production models of the FHT-1

9    thermometer?

10   A.   Oh yeah.

11   Q.   And did you sell them?

12   A.   Yes.

13   Q.   And were they commercially successful?

14   A.   I believe so.

15   Q.   When did you first start producing and selling FHT-1

16   thermometers, approximately?

17   A.   It was June 2005, and I think that the first shipment that

18   we shipped to our distributors in the states, BestMed, was July

19   2005.

20   Q.   So, Mr. Yarden, at that time what was the wholesale price

21   of an FHT-1 thermometer about?

22   A.   $30.

23   Q.   That's the wholesale price?

24   A.   I'm sorry, the retail sale price.       The wholesale price was

25   around $8, $8.50.


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1    Q.   And what about the retail price, what was the retail price

2    for those thermometers at that time?

3    A.   That was $30.

4    Q.   Finally, about how much per unit did it cause Medisim to

5    make the FHT-1 thermometer at about that time?

6    A.   Around half of the wholesale price.

7    Q.   So $3.50 to $4?

8    A.   Correct.

9    Q.   In 2005 did you sell the FHT-1 model to or through any

10   company other than BestMed?

11   A.   I don't think so.

12   Q.   When you produced FHT-1 thermometers did you have any other

13   distributor other than BestMed in 2005?

14   A.   I think that we had also a contract with Dorel but that was

15   around the FHT-2 model.

16   Q.   Okay, I'm specifically talking about the FHT-1 model.

17   Let's focus first on the FHT-1 model.

18             When Medisim was selling the FHT-1 model in 2005 was

19   it through any company other than BestMed?

20   A.   Not that I remember at the moment.

21   Q.   You also mentioned the FHT-2 model, correct?

22   A.   Correct.

23   Q.   Is that a production model of thermometer that Medisim

24   manufactured and sold?

25   A.   Correct.


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1    Q.   Generally, what is a distinction between the FHT-1 model

2    and the FHT-2 model?

3    A.   The FHT-2 model was also including an underarm model where

4    you could switch into it by using the special button so the

5    thermometer would provide you with forehead and underarm

6    measurement ability.

7    Q.   So, does the FHT thermometer practice the invention of a

8    '397 patent?

9    A.   That's correct.

10   Q.   And did you sell FHT-2 model thermometers?

11   A.   Correct.

12   Q.   And who did you sell those to, Mr. Yarden?

13   A.   It was through Dorel Juvenile Group.

14   Q.   And under what brand name were those FHT-2 models sold?

15   A.   Safety First.

16   Q.   So, Mr. Yarden, were the wholesale retail and production

17   costs for the FHT-2 similar to those for the FHT-1, or were

18   they different?

19   A.   They were a little higher because it was a more fancy

20   product.

21   Q.   At that time in 2005 how did your FHT-1 product and your

22   FHT-2 product compare at the retail price level to infrared

23   thermometers?

24   A.   Well, I think that we did a very nice thing to the market

25   because at that time the only product that could be sold in the


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1    states was protected heavily by Exergen and they were selling

2    their forehead thermometer for like $60, and the other well

3    known infrared was done by Braun, ear, and it was also

4    something like $45 to $50, and we brought up a cheaper

5    technology which could be used for measurement -- forehead

6    measurement for half of the price.

7    Q.   So, Mr. Yarden, when you mentioned Exergen, what is

8    Exergen?

9    A.   The product that you hold in your hand.

10   Q.   Is Exergen a product or is it a company?

11   A.   Exergen -- okay.    I'm sorry about it.     I'm sorry.

12              Exergen is a company.

13   Q.   Okay.

14   A.   But their product in our industry is called the Exergen,

15   that's why.    Exergen is a company, it is an American company.

16   They are dealing mainly with infrared and the product that you

17   hold in your hand is their product and this is a forehead

18   infrared thermometer.

19              MR. CHRISTIE:   Your Honor, may I approach?

20              THE COURT:   Do you have an exhibit number?

21              MR. CHRISTIE:   Just for demonstrative purposes.

22              THE COURT:   I would still like to have a number for

23   the record.

24              MR. CHRISTIE:   Plaintiff's Exhibit XXX.

25              THE COURT:   Okay.


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1    BY MR. CHRISTIE:

2    Q.   Mr. Yarden, let me show you Plaintiff's Exhibit XXX.

3    A.   Okay.

4    Q.   You mentioned that you recognize that, correct?

5    A.   Correct.

6    Q.   What do you recognize it to be?

7    A.   This is an infrared forehead thermometer by Exergen.

8    Q.   Do you know how it works?

9    A.   Yes.

10   Q.   Can you demonstrate for the jury?

11   A.   Sure.

12               You switch the device on -- no batteries, but

13   basically you switch it on and then have you to move it across

14   your forehead, and while you move it across your forehead it

15   will scan the temperature of the skin and it will take the

16   highest temperature and will correlate it to the core.

17               THE COURT:   Does it touch the skin?     Do you touch the

18   skin?

19               THE WITNESS:   Well, the probe is touch the skin but

20   the sensor, if you can see, it is a little bit beneath that

21   surface.

22               THE COURT:   I see.

23               THE WITNESS:   So, the sensor itself does not touch the

24   skin.

25               THE COURT:   I see.


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1    BY MR. CHRISTIE:

2    Q.   So, Mr. Yarden, I'm going to show you what I'm going to

3    mark Plaintiff's Exhibit YYY.       Do you recognize that, sir?

4    A.   Well, this is a CVS thermometer as it is written here but

5    it looks like an infrared ear thermometer.

6              THE COURT:    What?

7              THE WITNESS:    Ear.

8    Q.   How does infrared technology work to take temperature

9    measurement in the ear, if you know?

10   A.   Yes, I do.

11             Basically you switch the device on and then you put

12   the thermometer probe into the ear canal and the sensor looks

13   towards the tympanic membrane and capture its temperature.

14   Now, that temperature is being translated by the thermometer

15   into the body temperature which is displayed on the display.

16             THE COURT:    Okay.    It is 4:30, so we are going to stop

17   for today.

18             Ladies and gentlemen, please don't discuss the case

19   with each other or with anyone else.       Please leave your notes

20   in the jury room.    Tomorrow please be sure to get here at a

21   quarter to 10:00.    The reason I say quarter to 10:00 is

22   inevitably, having done this for so many years, one of you will

23   be later than the others, somebody will not be here by 10:00

24   and won't be finished by next Friday.        So, a quarter to 10:00,

25   that way we can make sure everybody will be here and we can get


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1    a start.

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1               (Jury not present)

2               THE COURT:   All right.    Thank you, Mr. Yarden.        Be

3    back tomorrow, obviously at 10:00.

4               THE WITNESS:    Quarter to.

5               MR. KUO:   Your Honor, is Mr. Yarden sequestered?

6               THE COURT:   No.   What does that mean?

7               MR. KUO:   Is he able to talk back and forth with his

8    lawyers?

9               THE COURT:   We discussed that, he is still on direct.

10              MR. KUO:   Just clarifying.

11              THE COURT:   It doesn't kick in until cross.

12              MR. KUO:   Okay.

13              THE COURT:   We went over that.

14              Any other questions or are we ready for tomorrow?             We

15   are ready?

16              MR. CHRISTIE:   Yes.   I think we are ready, Judge.

17              THE COURT:   Can you try to clear as fast as possible?

18   I have a criminal case right now.        I know that is going to be

19   hard each day to move the stuff down.

20              (Adjourned to 9:45 a.m., Wednesday, January 30, 2013.)

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